Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 1 of 37 PageID #: 1028




                             EXHIBIT H
Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 2 of 37 PageID #: 1029




                                Shin vs YSE

                            Shin vs YSE
                                      4/15/2019



                                Condensed Transcript

                                    Prepared by:

                                    Robert Cirillo
                                  Robert Cirillo, Inc.

                                 Friday, April 26, 2019



   Deposition of Young Ku Lee
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 3 of 37 PageID #: 1030

                                                 Page 1                                                      Page 3
 1 UNITED STATES DISTRICT COURT                            1
   EASTERN DISTRICT OF NEW YORK
 2 ------------------------------------------x             2      IT IS HEREBY STIPULATED AND AGREED by
   EDWARD SHIN,                                            3   and between the attorneys for the
 3
                    Plaintiff,                             4   respective parties herein, that filing and
 4                                                         5   sealing be and the same are hereby waived.
 5     Index No: 1:17-cv-05183 (LG) (SMG)
 6          -against-                                      6      IT IS FURTHER STIPULATED AND AGREED
 7 YSE ENTERPRISES, INC., MICHAEL S. WANG,                 7   that all objections, except as to the form
   VICTORIA WANG as TRUSTEE OF THE RICHARDSON
 8 IRREVOCABLE TRUST, TERRANCE WU, DEH-JUNG                8   of the question, shall be reserved to the
   DEBORAH WANG, and YOUNG K. LEE,                         9   time of the trial.
 9
                    Defendants.                           10      IT IS FURTHER STIPULATED AND AGREED
10                                                        11   that the within deposition may be sworn to
   -----------------------------------------x
11                 April 15 2019                          12   and signed before any officer authorized
                   11:15 A.M.                             13   to administer an oath, with the same force
12
                   199 Water Street                       14   and effect as if signed and sworn to
13                  New York, New York                    15   before the Court.
14
15       EXAMINATION BEFORE TRIAL of the                  16
16 Defendant YOUNG KU LEE, taken by                       17
17 Plaintiff, pursuant to Order, before
18 Christine Cutrone, a Notary Public for and             18
19 within the State of New York.                          19
20
21    ROBERT CIRILLO, INC.
                                                          20
      CERTIFIED COURT REPORTERS                           21
22    135 EAST CEDAR STREET
      LIVINGSTON, NEW JERSEY 07039
                                                          22
23    973-740-1331                                        23
      cirillo.robert@gmail.com                            24
24
25                                                        25
                                                 Page 2                                                      Page 4
 1   APPEARANCES:
 2
                                                           1                Y. Lee
 3 THE BASIL LAW GROUP, P.C.                               2   Y O U N G K U L E E , having first
   Attorneys for Plaintiff
 4     1270 Broadway
                                                           3   been duly sworn by a Notary Public, for
       Suite 305                                           4   and within the State of New York, upon
 5     New York, New York 10001
 6 BY: ROBERT J. BASIL ESQ.                                5   being examined, testified as follows:
 7                                                         6
 8 THE CHARTWELL LAW OFFICES, LLP
   Attorneys for Defendant                                 7
 9 MICHAEL S. WANG, VICTORIA WANG as TRUSTEE               8   T O N Y K I M, having been first duly
   OF THE RICHARDSON IRREVOCABLE TRUST,
10 DEH-JUNG DEBORAH WANG AND TERRENCE WU                   9   sworn by a Notary Public within and for
      81 Main Street
11    Suite 100
                                                          10   the State of New York, translated the
      White Plains, New York 10601                        11   questions from ENGLISH to KOREAN and the
12
   BY: CARMEN NICOLAOU, ESQ.                              12   answers from KOREAN to ENGLISH as follows:
13                                                        13
14
   AHMUTY, DEMERS & MCMANUS, ESQ.                         14   EXAMINATION BY MR. BASIL:
15 Attorneys for Defendants                               15        Q. Please state your name for the
      200 I.U. Willets Road
16    Albertson, New York 11507                           16   record.
17 BY: JANICE BERKOWITZ, ESQ.
   OUR FILE: ORNA 167417FAC
                                                          17        A. Young Ku Lee.
18                                                        18        Q. What is your present home
19 LONGO & D'APICE, ESQS.
   Attorneys for Defendant
                                                          19   address?
20 YOUNG K. LEE                                           20        A. 76-28 168th Street, Fresh
      26 Court Street
21    Suite 1700                                          21   Meadows, New York 11366.
      Brooklyn, New York 11242                            22        Q. Mr. Lee, good morning. My name
22
   BY: TIMOTHY M. MCCARTHY, ESQ., of Counsel              23   is Robert Basil. I'm here to take your
23                                                        24   deposition in a case that's been filed by my
24 TONY KIM (MORNING SIDE TRANSLATION)
25                                                        25   client Edward Shin against you and some other
[4/15/2019] Shin vs YSE                                                                                  Pages 1 - 4
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 4 of 37 PageID #: 1031

                                                 Page 5                                                 Page 7
 1                  Y. Lee                                 1                  Y. Lee
 2    entities; do you understand that?                    2       Q.       Yes.
 3         A. Yes.                                         3              MR. MCCARTHY: I'm going to
 4         Q. And as you're doing, make sure               4         at least note my objection. This
 5    you give all your answers in Korean. You may         5         cannot be used at the time of
 6    understand some of the English that I'm              6         trial. Any questions as to his
 7    speaking, but all your answers should be in          7         present ownership cannot be used.
 8    Korean and responsive to the interpreter's           8         Go ahead.
 9    interpretations to my questions; do you              9         A. 50 percent.
10    understand that?                                    10         Q. What are your responsibilities
11         A. Yes.                                        11   at Lebasket?
12         Q. You also understand that you are            12         A. I am the president.
13    under oath, and it's just as important that         13         Q. Where is Lebasket located?
14    you give truthful and accurate answers here as      14         A. 683 Broadway.
15    it would be if you were in a court of law; do       15         Q. Manhattan?
16    you understand that, sir?                           16         A. Yes.
17         A. Yes.                                        17         Q. Before you were employed by
18         Q. Do you have any questions for me            18   Lebasket, what was your previous employment?
19    before we start?                                    19         A. 15 years ago I had another deli
20         A. No.                                         20   at another location.
21         Q. You had a chance to meet with               21         Q. Again, we're here primarily to
22    your attorney this morning before we started;       22   talk about events related to Mr. Edward Shin's
23    is that correct?                                    23   falling down some steps that occurred on
24         A. Yes. Briefly.                               24   April 21st and April 22nd.
25         Q. And Korean is your native                   25              Were you present during
                                                 Page 6                                                 Page 8
 1                  Y. Lee                                 1                  Y. Lee
 2    language; is that correct?                           2   Mr. Shin's falling down the steps at a
 3         A. Yes.                                         3   building on Northern Boulevard in Queens on
 4         Q. Do you currently have                        4   that day?
 5    employment?                                          5        A. Yes.
 6         A. Yes.                                         6        Q. Prior to today's deposition,
 7         Q. Where are you employed?                      7   have you talked to anyone other than your
 8         A. Do you need the address?                     8   attorneys about the events that occurred that
 9         Q. First give me the name of your               9   evening?
10    employer.                                           10        A. No one besides my family. It's
11         A. L-E-B-A-S-K-E-T Deli Grocery.               11   embarrassing, so no one.
12         Q. Do you have any ownership or                12        Q. Has anyone from the news media
13    interest in that business?                          13   attempted to contact you about the events
14             MR. MCCARTHY: Objection.                   14   about that evening?
15         A. Yes.                                        15        A. No.
16         Q. What is your ownership interest?            16        Q. In this case we've been calling
17             MR. MCCARTHY: What he owns                 17   the establishment, where you and Mr. Shin were
18         now is not relevant to how this                18   having some drinks and food that evening, as
19         incident occurred. Should there                19   YS2.
20         be a verdict you're entitled to a              20            Is it okay if I call that
21         subsequent deposition as to the                21   business YS2 for this deposition and you'll
22         assets. So at this time I'm going              22   know what I mean?
23         to object to the question.                     23            MS. NICOLAOU: Objection.
24         Q. You may answer.                             24        Form.
25         A. Do I need to answer?                        25            MS. BERKOWITZ: Objection to
[4/15/2019] Shin vs YSE                                                                            Pages 5 - 8
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 5 of 37 PageID #: 1032

                                                Page 9                                                Page 11
 1                  Y. Lee                                1                 Y. Lee
 2         form.                                          2        Q. On the evening of April 21,
 3         Q. What was the business that you              3   2017, did you see Mr. Edward Shin?
 4    were visiting that evening on Northern              4        A. I saw him at the karaoke bar and
 5    Boulevard in Queens?                                5   that's it.
 6         A. That's not a place that I                   6        Q. When you saw him at the karaoke
 7    frequent much, so I don't recall the name of        7   bar, where in the karaoke bar did you first
 8    the establishment.                                  8   see him?
 9         Q. Prior to April 21st, 2017, the              9        A. When he came into our room.
10    night of Mr. Shin's fall, how many times had       10        Q. When Mr. Shin came into your
11    you been to the establishment where you had        11   room as you stated, who was also in the room
12    some drinks that evening?                          12   at that time?
13              MS. BERKOWITZ: Objection,                13        A. There were three in that room,
14         form.                                         14   besides myself. There was my friend. My
15              MS. NICOLAOU: Objection.                 15   friend, he recently started his own business,
16         Q. Go ahead. You can translate.               16   so he also brought his own CPA. And there was
17              MR. MCCARTHY: I'll object                17   an employee of the bar in the room.
18         to form too, but go ahead.                    18        Q. Mr. Lee, do you know the names
19         A. To my recollection, about a year           19   of the three people in the room; and if you
20    before the incident.                               20   do, what are those names?
21         Q. So one year before the incident            21        A. Okay. My friend is Hong,
22    was the last time you were in the same             22   Mr. Hong and CPA is Mr. Park. I had no
23    establishment where you met with Mr. Shin that     23   relation with the CPA.
24    evening, correct?                                  24        Q. Do you know the name of the
25              MR. MCCARTHY: Objection.                 25   employee you referred to that was in the room?
                                               Page 10                                                Page 12
 1                  Y. Lee                                1                Y. Lee
 2         I'm not sure --                                2        A. No, I do not. I know he was the
 3             MS. NICOLAOU: Objection to                 3   employee, but I don't know his name.
 4         form.                                          4        Q. The employee, he was in the room
 5             MR. MCCARTHY: Objection to                 5   when Mr. Shin came in or was he in the room at
 6         form.                                          6   other times?
 7             MS. NICOLAOU: There's no                   7        A. No.
 8         foundation.                                    8        Q. No meaning --
 9         Q. That's fine.                                9            MR. MCCARTHY: Objection.
10         A. Yes, probably so.                          10        Why don't you breakup the question
11         Q. Now, before April 21, 2017, had            11        perhaps or ask it a different way.
12    you ever met Mr. Edward Shin?                      12            MR. BASIL: Right.
13         A. I've seen him once.                        13            MR. MCCARTHY: There's no
14         Q. When did you see Mr. Edward Shin           14        question.
15    before April 21 of 2017?                           15        Q. The employee who was in the room
16         A. I think I've seen him at my                16   at the time Mr. Shin came into the room, was
17    friend's wedding.                                  17   that the only time that that employee was in
18         Q. Other than at your friend's                18   the room with you?
19    wedding, do you believe that you were ever in      19            MS. NICOLAOU: Objection to
20    the same location as Mr. Edward Shin before        20        form.
21    April 21, 2017?                                    21        A. Mr. Shin came in when the
22         A. No.                                        22   employee was in our room.
23         Q. Did you see Mr. Shin on the                23        Q. How long had you been in the
24    evening of April 21, 2017?                         24   room at the time Mr. Shin entered?
25         A. Can you repeat that again?                 25        A. Not much time had passed after I
[4/15/2019] Shin vs YSE                                                                           Pages 9 - 12
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 6 of 37 PageID #: 1033

                                               Page 13                                                   Page 15
 1                  Y. Lee                                1                  Y. Lee
 2    got in the room. About 20 minutes.                  2   that came into that room for any purpose?
 3         Q. During the 20 minutes you were              3        A. I cannot remember.
 4    in the room, before Mr. Shin arrived, were          4        Q. Once Mr. Shin came into the
 5    alcoholic beverages served?                         5   room, did any employees other than the woman
 6             MS. BERKOWITZ: Objection to                6   you referred to, come into the room that
 7         form.                                          7   evening?
 8         A. Yes. That's why the employee                8        A. I cannot recall who else came
 9    was in our room.                                    9   into our room.
10         Q. During those 20 minutes, what              10        Q. To your knowledge, did anyone
11    alcoholic beverages were brought to the room       11   invite Mr. Shin into your room?
12    by the employee?                                   12        A. The CPA that was with us, when
13             MS. NICOLAOU: Objection to                13   he went to the bathroom, you know, he met with
14         form.                                         14   Mr. Shin, and he went to introduce us. So
15         A. Johnnie Walker Blue.                       15   that's why he brought -- I was told that the
16         Q. Was there any beer in the room             16   CPA brought Mr. Shin in our room.
17    during those 20 minutes?                           17        Q. Once Mr. Shin came into the
18         A. No. I don't drink beer.                    18   room, were additional drinks ordered?
19         Q. Was there any food in the room             19            MS. BERKOWITZ: Objection to
20    during those 20 minutes?                           20        form.
21         A. Yes, there was fruit.                      21        Q. You can answer.
22         Q. Was the employee male or female            22            MR. MCCARTHY: Objection to
23    that was in the room?                              23        form, if you understand.
24         A. It was a female (English).                 24            (The record is read back by
25         Q. Was it that female that brought            25        the reporter.)
                                               Page 14                                                   Page 16
 1                  Y. Lee                                1                 Y. Lee
 2    the Johnnie Walker Blue into the room?              2        A. I didn't order it, but Mr. Shin
 3         A. I can't recall who brought                  3   finished the entire bottle. And to my
 4    liquor into the room.                               4   knowledge, it's Mr. Shin that placed
 5         Q. Did the female pour liquor into             5   additional order.
 6    the shot glass or the drinking glasses during       6        Q. When you say Mr. Shin drank the
 7    those 20 minutes?                                   7   rest of the bottle, are you referring to the
 8         A. No. I poured the drink for my               8   Johnnie Walker Blue bottle that you had
 9    guests, my friends.                                 9   mentioned earlier?
10         Q. Who ordered the Johnnie Walker             10        A. Yes, that's correct.
11    Blue?                                              11        Q. Before Mr. Shin got into the
12         A. Mr. Hong.                                  12   room, how much of that Johnnie Walker Blue was
13         Q. Did Mr. Hong order the Johnnie             13   consumed by people in the room?
14    Walker Blue while he was in the room or while      14        A. Not much. We drank in a small
15    he was outside of the room.                        15   cup or so. It wasn't much.
16         A. Mr. Hong ordered the drink while           16        Q. Do you recall how much you had
17    he was in the room before Mr. Shin came in.        17   drank of the Johnnie Walker Blue before
18         Q. Did he give that order to the              18   Mr. Shin entered the room?
19    female employee that you referred to or            19        A. One small cup.
20    somebody else?                                     20        Q. Do you have any estimate about
21         A. It's Mr. Hong that ordered the             21   how many ounces of the Johnnie Walker Blue you
22    drinks, so I don't recall who he, you know,        22   drank before Mr. Shin entered the room?
23    ordered for.                                       23        A. Two or three hours. I don't
24         Q. During those 20 minutes, were              24   know how much ounces. Small cup. I don't
25    there any other employees of the karaoke bar       25   know how many (English).
[4/15/2019] Shin vs YSE                                                                            Pages 13 - 16
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 7 of 37 PageID #: 1034

                                               Page 17                                                Page 19
 1                  Y. Lee                                1                 Y. Lee
 2            MS. NICOLAOU: You have to                   2   about an hour or two just to be with my
 3         speak your language, I'm sorry.                3   friends. You know, just accompany my friends,
 4            MR. MCCARTHY: You have to                   4   but I don't drink much.
 5         speak in Korean.                               5        Q. So that evening with Mr. Shin,
 6         A. It's a very small cup, so I                 6   did you drink any Johnnie Walker Blue while
 7    don't know exactly how many ounces I had.           7   Mr. Shin was in the room?
 8         Q. Before you got to the karaoke               8        A. I think I had one shot.
 9    bar, had you consumed any alcoholic beverages       9        Q. Did Mr. Hong have any drinks
10    that day or evening?                               10   while Mr. Shin was in the room?
11         A. Okay. Before we went to the                11        A. Yes, he did.
12    karaoke bar, we had our meal at the                12        Q. Can you estimate how many drinks
13    restaurant. And at that restaurant I had one       13   Mr. Hong had while Mr. Shin was in the room?
14    cup of beer.                                       14        A. I think he had two or three
15         Q. So when Mr. Shin came into the             15   shots.
16    room, is it your recollection that you were        16        Q. Did Mr. Park have any drinks
17    sober at the time?                                 17   while Mr. Shin was in the room?
18         A. Yes.                                       18        A. I don't think he drank much
19         Q. Now, at any time during that               19   either.
20    evening before Mr. Shin fell down the steps,       20        Q. How many drinks did Mr. Shin
21    were you no longer sober in your mind?             21   have while you were in the room with him that
22         A. I was sober. I was -- my mind              22   evening?
23    was clear. I was sober.                            23        A. You could say he drank a lot.
24         Q. So at the time Mr. Shin fell               24   You could say he finished the rest of the
25    down the steps, your testimony is that you         25   drink.
                                               Page 18                                                Page 20
 1                   Y. Lee                               1                 Y. Lee
 2    were sober at that moment; is that correct?         2         Q. During the time when Mr. Shin
 3         A. Yes.                                        3   was in the room, were there any employees who
 4         Q. After Mr. Shin came into the                4   came in and poured drinks for either Mr. Shin
 5    room, did you talk to Mr. Shin?                     5   or for any of the other people in the room?
 6         A. No. I just shook hands and, you             6         A. I cannot recall. Usually I pour
 7    know, we -- the people in the room just shook       7   the drink myself, but I don't recall.
 8    hands and meet Mr. Shin and that was it.            8         Q. Were there any female guests in
 9         Q. How long were you in the same               9   the room during the period when Mr. Shin was
10    room as Mr. Shin at the karaoke bar?               10   in the room?
11         A. About an hour to my knowledge.             11         A. No.
12         Q. Did you observe Mr. Shin                   12         Q. During the time Mr. Shin was in
13    drinking alcohol during that hour?                 13   the room, did you hear any arguments between
14         A. Yes.                                       14   Mr. Shin and anyone else that was in the room?
15         Q. From your observation, was                 15         A. Well, after Mr. Shin was drunk
16    Mr. Shin sober during the time that you were       16   and he start hitting people and pulling their
17    in the room with him that evening?                 17   hair in the room, now the people that were in
18         A. When he came into the room, he             18   the room were nice people. So they were just
19    was a little intoxicated.                          19   telling Mr. Shin to, you know, back off.
20         Q. While Mr. Shin was in the room             20         Q. Did Mr. Shin hit you?
21    with you that evening, did you consume             21         A. No.
22    alcoholic beverages during that period of          22         Q. Did Mr. Shin pull your hair?
23    time?                                              23         A. No, I was a distance away
24         A. I don't drink much. If I drink             24   (Korean). So I was away like this (English).
25    one cup of drink, I just stay in the room          25         Q. Korean please.
[4/15/2019] Shin vs YSE                                                                         Pages 17 - 20
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 8 of 37 PageID #: 1035

                                               Page 21                                                   Page 23
 1                 Y. Lee                                 1                 Y. Lee
 2         A. He could not reach me. I was a              2            THE WITNESS: Yes, he's
 3    distance.                                           3        ready.
 4         Q. While you were in the room with             4        Q. This has been identified by
 5    Mr. Shin, did Mr. Shin insult you?                  5   other witnesses as a receipt that was
 6         A. Not to me.                                  6   generated from purchases at the room that you
 7         Q. When you were in the room with              7   and Mr. Shin were in. I just have a few
 8    Mr. Shin, did Mr. Shin discuss your businesses      8   questions.
 9    with you?                                           9            MS. BERKOWITZ: I'm going to
10             (The record is read back by               10        object to that introductory
11         the reporter.)                                11        statement.
12             MR. MCCARTHY: Objection to                12        Q. On line two it says black, two
13         form.                                         13   bottles, $200.
14         A. He told me that he founded                 14            MR. MCCARTHY: It says blue.
15    money. You should come and see me, because he      15            MS. BERKOWITZ: I think
16    would be able to loan me money.                    16        you're on the wrong one, Bob.
17         Q. Did you express any interest in            17        Q. Okay. As you see on line one
18    obtaining a loan from Mr. Shin or his bank?        18   and two it states Johnnie Walker Blue, two
19             MR. MCCARTHY: While in the                19   bottles.
20         room?                                         20            Do you recall if there were two
21             MR. BASIL: While in the                   21   bottles purchased for the room you were in on
22         room, yes.                                    22   April 21, 2017?
23         A. Well, he sounded like he can               23            MS. BERKOWITZ: Objection to
24    really help me out with getting a loan if I        24        form.
25    were to come to him. Then he sounded like he       25        A. Yes.
                                               Page 22                                                   Page 24
 1                  Y. Lee                                1                   Y. Lee
 2    was really going to help me get the loan.           2         Q. Do you know who paid the $900
 3         Q. Do you remember if you said                 3   for the Johnnie Walker Blue that's reflected
 4    anything to Mr. Shin in the room about whether      4   on Defendant's Exhibit C?
 5    you were interested or not interested in            5         A. I didn't see who paid.
 6    getting a loan?                                     6         Q. Did you pay the $900 reflected
 7         A. No, I did not.                              7   on Exhibit C?
 8         Q. Other than that discussion that             8         A. No.
 9    you just mentioned, do you remember any other       9         Q. Did you pay the $400 room charge
10    discussions between you and Mr. Shin while you     10   that is reflected on Exhibit C?
11    were in the room that evening?                     11         A. No.
12         A. No.                                        12         Q. Did you pay for the fruit
13         Q. I want to show you what's been             13   plater, the meatballs or the chicken that is
14    marked in other depositions as Defendant's         14   referred to on Exhibit C?
15    Exhibit C. And just take a look at that and        15         A. No, I haven't paid any of those.
16    let me know when you're ready to answer some       16         Q. In the upper-right hand corner
17    questions.                                         17   it looks like it says 10-00 or 10 o'clock. Do
18             MR. MCCARTHY: Take your                   18   you see that?
19         time and read it to yourself.                 19         A. Yeah.
20             MS. NICOLAOU: Could you                   20         Q. And underneath there is some
21         just read the date of that                    21   writing. Do you understand that writing?
22         exhibit?                                      22         A. Yeah.
23             MR. MCCARTHY: The exhibit                 23         Q. What does that writing say?
24         was marked February 1st, 2019.                24         A. Someone's name.
25         Exhibit C.                                    25         Q. Can you tell if it's a man's
[4/15/2019] Shin vs YSE                                                                            Pages 21 - 24
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 9 of 37 PageID #: 1036

                                              Page 25                                                 Page 27
 1                  Y. Lee                               1                  Y. Lee
 2    name or a woman's name?                            2        form to the extent that he knows.
 3         A. Male's name.                               3        A. Okay. On the way out, Mr. Shin
 4         Q. The male's name, that's either             4   was cursing at me and he was yelling at me.
 5    Mr. Hong, Mr. Park, Mr. Shin or yourself?          5   So that's why I went to him after I came out
 6         A. It's looks like the name of the            6   of the bathroom.
 7    CPA.                                               7        Q. Did the people in the room where
 8             MR. MCCARTHY: Make sure                   8   the Johnnie Walker Blue had been delivered
 9         until he waits until you                      9   leave at the same time?
10         translate.                                   10        A. No.
11             MR. BASIL: Let's go to the               11        Q. Who left first?
12         video. We're now going to show               12        A. Mr. Shin left the room. And
13         the witness nonstop what we've               13   after that, I went out of the room to go to
14         marked previously as Exhibit 1 on            14   the restroom.
15         March 15th, 2019.                            15        Q. Did Mr. Park or Mr. Hong also
16         Q. So at this point there's no               16   leave the room at or about that time?
17    question pending, but I want you to look at       17        A. No.
18    the video and then we'll backup and ask some      18        Q. After you went to the men's
19    questions.                                        19   room, did you come back to the room?
20             (Playing video.)                         20        A. Yes, I came back to the room.
21         Q. Mr. Lee, you've just had an               21        Q. At that point was Mr. Shin gone?
22    opportunity to review what's been marked as       22        A. Right.
23    Exhibit 1.                                        23        Q. At that point there were three
24             Had you ever seen that video             24   of you left in the room; is that correct?
25    before?                                           25        A. Yes.
                                              Page 26                                                 Page 28
 1                  Y. Lee                               1                 Y. Lee
 2         A. Yeah. Well, I saw the video                2        Q. How much longer did the three of
 3    that was sent over to my cell phone.               3   you stay in the room after Mr. Shin left?
 4         Q. Okay. Do you recognize the                 4        A. About 20 to 30 minutes.
 5    individuals in that video?                         5        Q. During that 20 to 30 minutes,
 6         A. Okay. I know that one person is            6   was any additional alcoholic beverages brought
 7    Mr. Shin's friend and another person is the        7   to the room?
 8    employee of the bank where Mr. Shin works.         8        A. No.
 9         Q. Do you know the name of                    9        Q. During that 20 to 30 minutes
10    Mr. Shin's friend that appears in the video?      10   after Mr. Shin left, was any alcoholic
11         A. I don't know his name, but I              11   beverage that was already in the room
12    understand that he owns a restaurant              12   consumed?
13    downstairs.                                       13        A. Okay. I don't recall. I can't
14         Q. Do you know the name of the               14   remember whether they drank additional liquor
15    employee that you referred to who appears in      15   or not.
16    the video?                                        16        Q. Did you consume any liquor after
17             MS. BERKOWITZ: Shin's                    17   Mr. Shin left the room?
18         employee?                                    18        A. No. To my knowledge -- to my
19             MR. BASIL: Yes.                          19   recollection, I don't think I have anymore
20         A. I do not know.                            20   drink.
21         Q. Tell me how the people in that            21        Q. So starting when you arrived at
22    video all came to be standing at that top of      22   the karaoke bar that evening, and the time
23    the stairs at that moment when the video          23   that you appear on the video at the top of the
24    begins?                                           24   stairs, can you estimate how much alcoholic
25             MR. BASIL: Objection to                  25   beverages you consumed that evening?
[4/15/2019] Shin vs YSE                                                                         Pages 25 - 28
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 10 of 37 PageID #: 1037

                                                 Page 29                                                  Page 31
 1                  Y. Lee                                  1                 Y. Lee
 2             MS. BERKOWITZ: Objection.                    2        Q. Why were you standing at the top
 3         Asked and answered.                              3   of the stairs at the time reflected in the
 4             MR. MCCARTHY: Also object.                   4   video marked as Exhibit 1?
 5         Asked and answered.                              5        A. Okay.
 6         A. Two or three shots. Just small                6            THE INTERPRETER: Can I?
 7    glass.                                                7            MR. BASIL: Please.
 8         Q. Now, you mentioned earlier that               8            (Retranslated.)
 9    Mr. Shin was cursing and yelling at you.              9        A. I went out there because
10             Do you remember any of the words            10   Mr. Shin was cursing and yelling, and also the
11    that he said?                                        11   owner was also yelling. So I went out to see
12         A. No. Not to me, but he was                    12   what's going on.
13    rather yelling and cursing at the people that        13        Q. When you went out to the
14    were the other people in the room.                   14   landing, as shown in Exhibit 1, the video, am
15         Q. Now, after Mr. Shin had left the             15   I correct that you were not intending to leave
16    room and you stayed for another 20 or 30             16   the building at that time?
17    minutes in that room, at that point did you          17        A. Right.
18    decide to leave the premises and go home?            18        Q. Do you remember any of the words
19         A. No.                                          19   that were said at the top of the stairs at the
20         Q. After that 20 to 30 minutes                  20   time when the video captured what was ever
21    after Mr. Shin left the room, what did you do        21   going on there?
22    next?                                                22        A. He was cursing me out. He was
23             THE INTERPRETER: I'm sorry.                 23   cursing. He was sticking the middle finger
24         After 20, 30 minutes?                           24   up.
25             MR. BASIL: Right. After                     25        Q. Did Mr. Shin tell you why he was
                                                 Page 30                                                  Page 32
 1                   Y. Lee                                 1                 Y. Lee
 2         Mr. Shin left the room, he was in                2   cursing you out and sticking his middle finger
 3         the room for another 20, 30                      3   up?
 4         minutes, what did he do next?                    4         A. I do not know.
 5               MR. MCCARTHY: Objection to                 5         Q. When Mr. Shin was cursing you
 6         form. I don't understand. You're                 6   out and sticking his finger up, did you get
 7         talking about the 20, 30 minutes                 7   angry?
 8         or after the 20, 30 minutes?                     8         A. I was upset, but I was not
 9               MR. BASIL: I'll rephrase                   9   enraged.
10         it.                                             10         Q. Did you ever, during the course
11         Q. After Mr. Shin left the room,                11   of that evening, intend to hurt Mr. Shin?
12    and then you returned and stayed for 20 or 30        12         A. No.
13    minutes, what did you do next?                       13         Q. Did you ever intend to kick
14               MR. MCCARTHY: Objection to                14   Mr. Shin during the course of that evening?
15         form. But if you think you                      15         A. No.
16         understand.                                     16         Q. From your vantage point, can you
17         A. I was just sitting. We were                  17   tell why Mr. Shin fell down the stairs as
18    just sitting to my knowledge -- to my                18   reflected in that video?
19    recollection.                                        19             MS. NICOLAOU: Objection to
20         Q. When did you leave the room for              20         form.
21    the last time?                                       21         A. From my opinion and also from
22         A. When the police came and                     22   the other employees -- from the other people
23    arrested me is when I left the room. And I           23   that were there, from our perspectives, I
24    asked the police for why or what charge am I         24   think Mr. Shin was kind of leaning toward and
25    being arrest for.                                    25   he wasn't standing straight. He was
[4/15/2019] Shin vs YSE                                                                             Pages 29 - 32
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 11 of 37 PageID #: 1038

                                              Page 33                                                   Page 35
 1                    Y. Lee                             1                   Y. Lee
 2    unbalanced and misstepped. He tripped and          2   didn't think anything of it. So I went into
 3    then he fell. Now, on that same spot, someone      3   my room.
 4    that I know also had fallen from the same          4         Q. Eventually, as you testified,
 5    spot. So I think he misstepped.                    5   the police came to talk to you about the
 6          Q. The other person that you're              6   incident, correct?
 7    aware of that fell, was that before Mr. Shin       7         A. Yes.
 8    fell or after Mr. Shin fell?                       8         Q. What did you say to the
 9          A. Several months before.                    9   policeman?
10          Q. Were you present when that other         10         A. When the police tried to arrest
11    person fell?                                      11   me, I told him I am not the person that was
12          A. No. I was told that, you know,           12   fighting.
13    that person had fallen. The person that fell      13         Q. Did you tell the police that you
14    is the husband of my business partner.            14   believed this incident was an accident?
15               MR. MCCARTHY: Could you                15              MR. MCCARTHY: This is at
16          tell him to just answer the                 16         the scene?
17          questions. If the question is,              17              MR. BASIL: This is while he
18          were you present at the time of             18         is talking to the police at the
19          the incident, yes or no, you were           19         scene, correct.
20          present. You don't have to go               20         A. No, I didn't tell him that.
21          into who fell. Could you tell him           21         Q. Did you believe at the time that
22          that?                                       22   you were talking to the police that Mr. Shin's
23               THE WITNESS: I understand.             23   fall was an accident?
24          Q. What is the name of the person           24         A. I didn't tell him that. I just
25    who fell?                                         25   told the police that I was not the person that
                                              Page 34                                                   Page 36
 1                  Y. Lee                               1                Y. Lee
 2              MR. MCCARTHY: You're                     2 was fighting.
 3         talking about the prior case?                 3           MR. BASIL: Let me take a
 4              MR. BASIL: Correct.                      4      couple of minutes. Take five
 5         A. C-H-A-S-U-N-G, that's the first            5      minutes.
 6    name. And the last name is I-M.                    6           MR. MCCARTHY: Sure.
 7         Q. Do you know if Mr. Im was                  7           (Whereupon a short break was
 8    injured on that occasion?                          8      taken.)
 9         A. Yes.                                       9           (Resuming)
10         Q. Do you know the extent of                 10      Q. After you spoke to the police
11    Mr. Im's injuries on that occasion?               11 that evening, did you have further
12         A. Yes, he was injured quite bad.            12 conversations with either the police or
13         Q. Do you know if Mr. Im retained            13 district attorney's office about this
14    an attorney to address the injuries that he       14 incident?
15    had received?                                     15      A. No.
16         A. No, he did not.                           16           MR. BASIL: I don't have
17         Q. Do you know if Mr. Im received            17      anymore questions for you today.
18    any compensation for his injuries?                18      I appreciate it.
19         A. From what I know he got -- he             19           THE WITNESS: Thank you.
20    had insurance. He used his own insurance,         20           MR. MCCARTHY: But now you
21    because he acknowledged that it was his own       21      got these two.
22    fault.                                            22 EXAMINATION BY MS. BERKOWITZ:
23         Q. Immediately after Mr. Shin fell           23      Q. Good afternoon. My name is
24    down the stairs, what did you do next?            24 Janice Berkowitz. I'm the attorney for the
25         A. I just went into my room. I               25 karaoke bar.
[4/15/2019] Shin vs YSE                                                                           Pages 33 - 36
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 12 of 37 PageID #: 1039

                                               Page 37                                                  Page 39
 1                  Y. Lee                                1                  Y. Lee
 2             When you went out to dinner,               2        Q. Where did Mr. Hong go? Did
 3    before you went to the karaoke bar, who did         3   Mr. Hong go into a room?
 4    you go with?                                        4        A. Well, we went to the karaoke
 5         A. There were about 20 people and              5   bar. The employee led us to a room.
 6    Mr. Hong was also there.                            6        Q. What employee led you to a room?
 7         Q. What restaurant was that?                   7        A. I don't recall who exactly.
 8         A. Kum Kang San.                               8        Q. Was it a manager or server or
 9         Q. Where is that restaurant                    9   you don't remember?
10    located?                                           10        A. I think it was a manager.
11         A. In Flushing.                               11        Q. Do you know the manager's name?
12         Q. What did you eat at that meal?             12        A. No.
13         A. The barbecue.                              13        Q. When you got to the room, was
14         Q. What barbecue? Tell me what you            14   Mr. Park already in there, the CPA?
15    ate?                                               15        A. Oh, he went with us from the
16         A. The rib.                                   16   restaurant.
17         Q. And anything else with ribs?               17        Q. He was at the restaurant too?
18         A. Mostly barbecue.                           18        A. Yes.
19         Q. What time was that?                        19        Q. Now, when the server brought in
20         A. In my recollection we were there           20   the first bottle of Johnnie Walker Blue, what
21    from seven till nine.                              21   did that server do?
22         Q. And you said you had one cup of            22        A. The employee asked us if you
23    beer; is that correct?                             23   want to have appetizer snack and we asked for
24         A. Yes.                                       24   the fruit.
25         Q. What kind of beer was that?                25        Q. You said that Mr. Hong ordered
                                               Page 38                                                  Page 40
 1                  Y. Lee                                1                 Y. Lee
 2         A. I don't recall what brand.                  2   the Johnnie Walker Blue?
 3         Q. What size cup?                              3         A. I think so.
 4         A. (Indicating). It's a cup that               4         Q. Then when the server came back
 5    is about ten ounce.                                 5   with the bottle, what did he serve it in?
 6         Q. And what's your height?                     6         A. The employer also brought the
 7         A. 174 centimeters.                            7   ice and the coke and just placed it and then
 8         Q. What was your weight at the                 8   he left.
 9    time?                                               9         Q. Placed it where?
10         A. 175 pounds.                                10         A. On the table.
11         Q. And then after the meal, did you           11             MR. MCCARTHY: Wait for the
12    go straight to the karaoke bar with Mr. Hong?      12         Korean and speak in Korean.
13         A. Yes.                                       13         Q. How long was the server in the
14         Q. How did you get there?                     14   room?
15         A. Okay. I think Mr. Hong drove               15             MR. MCCARTHY: This is when
16    his car, because I went with Mr. Hong.             16         they brought the --
17         Q. What time did you arrive at the            17             MS. BERKOWITZ: The first
18    karaoke place?                                     18         bottle.
19         A. Okay. I left the restaurant                19         A. Can you just repeat the
20    around 9 o'clock. So I must have gotten there      20   question?
21    9:20 or 9:30.                                      21             MR. MCCARTHY: Read it back.
22         Q. When you got there, did anyone             22             (The record is read back by
23    from the karaoke bar greet you?                    23         the reporter.)
24         A. No, no one. I just followed Mr.            24         Q. When the server brought the
25    Hong.                                              25   first bottle.
[4/15/2019] Shin vs YSE                                                                           Pages 37 - 40
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 13 of 37 PageID #: 1040

                                                Page 41                                                  Page 43
 1                   Y. Lee                                1                 Y. Lee
 2          A. After he placed -- the employee             2        that clear?
 3    placed -- the server placed the bottle and he        3            MS. BERKOWITZ: Sure.
 4    just left.                                           4        Q. The yelling on the landing --
 5          Q. As you sit here today, do you               5        A. No.
 6    know who paid for the $900 for the two bottles       6        Q. -- besides for Shin, was anybody
 7    of blue?                                             7   else yelling or cursing on the landing?
 8          A. I do not know.                              8        A. No, there was none.
 9          Q. When you were in the room, did              9        Q. Were there any employees from
10    you have any fruit to eat?                          10   the karaoke bar out on the landing before
11          A. Yes. The fruit was also brought            11   Mr. Shin fell?
12    in by the server along with the drink.              12        A. Yeah, there were a few employees
13          Q. What about any meatballs or                13   standing just a few feet away from where
14    chicken, did you have any meatballs or              14   Mr. Shin was standing.
15    chicken?                                            15        Q. Were they in the karaoke bar or
16          A. I think I've seen it, but I                16   were they on the landing?
17    didn't eat it.                                      17        A. They were in the hallway,
18          Q. Now, before you told us that in            18   because the landing is visible from the
19    the video one of the people that you                19   hallway.
20    recognized was the owner of the restaurant.         20        Q. Karaoke bar hallway?
21               Do you know that person's name?          21        A. Yes.
22          A. No, I do not know.                         22        Q. So I'll ask you again.
23          Q. You're not talking about the               23            Were there any employees on the
24    owner of the karaoke bar, correct?                  24   landing right before Mr. Shin fell?
25          A. Yeah, I know.                              25        A. No.
                                                Page 42                                                  Page 44
 1                   Y. Lee                                1                 Y. Lee
 2         Q. So it's a different person?                  2        Q. Was the door between the karaoke
 3         A. Different.                                   3   bar and the landing closed?
 4         Q. When you told us earlier that                4        A. The door was open. It was right
 5    Shin was cursing and yelling and that the            5   there.
 6    owner was also yelling, was that also the            6        Q. But it was open or closed?
 7    owner of the restaurant?                             7        A. It was open.
 8         A. Okay. Can you repeat the                     8            MR. MCCARTHY: That's the
 9    question again?                                      9        door to the karaoke room?
10         Q. When Shin was cursing and                   10            MS. BERKOWITZ: Yeah.
11    yelling, was there anybody else cursing and         11        Q. Did the police do any
12    yelling?                                            12   breathalyzer or any other type of testing on
13         A. He was cursing at every one.                13   you?
14         Q. But was anybody cussing, yelling            14        A. No, not to my knowledge.
15    back at him?                                        15        Q. You told us earlier that
16              MR. MCCARTHY: Could I?                    16   Mr. Shin ordered the second bottle of,
17              MS. BERKOWITZ: Sure.                      17   correct?
18              MR. MCCARTHY: There was                   18        A. From what I know, yes.
19         yelling in the room. But you're                19        Q. So did the same server bring the
20         talking about yelling on the                   20   second bottle that brought in the first
21         stairs.                                        21   bottle?
22              MS. BERKOWITZ: I'm just                   22        A. That I don't recall who brought
23         talking about yelling on the                   23   the second bottle.
24         landing.                                       24        Q. Whoever brought in the second
25              MR. MCCARTHY: Can you make                25   bottle, did they do the same thing where they
[4/15/2019] Shin vs YSE                                                                            Pages 41 - 44
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 14 of 37 PageID #: 1041

                                               Page 45                                                   Page 47
 1               Y. Lee                                   1                  Y. Lee
 2 placed it down on the table and they just              2   there a year before.
 3 left?                                                  3         Q. Were you there as a guest or a
 4       A. Yes.                                          4   member?
 5       Q. Did Mr. Shin ever pour you any                5             MR. MCCARTHY: At what
 6 drinks?                                                6         point?
 7       A. I cannot recall.                              7             MS. NICOLAOU: The year
 8       Q. Do you know why Mr. Shin was                  8         before.
 9 giving you the finger?                                 9         A. Yeah, somebody was buying me a
10       A. I do not know.                               10   drink.
11          MS. BERKOWITZ: That's all I                  11         Q. Do you recall who that person
12       have right now.                                 12   was?
13          THE WITNESS: Thank you.                      13         A. No.
14 EXAMINATION BY MS. NICOLAOU:                          14         Q. And the evening of Mr. Shin's
15       Q. Good afternoon. So My name is                15   fall down the stairs, were you at the karaoke
16 Carmen Nicolaou. I'm just going to be asking          16   bar as a guest of a member?
17 you a few questions. I'll try not to repeat           17         A. Yes, Mr. Hong said he was going
18 myself. The same rules apply. I understand            18   to buy us drinks, so I went along with him.
19 you understand and speak English, but you're          19         Q. How long were you at the karaoke
20 more comfortable in your native language; is          20   bar?
21 that correct?                                         21             MR. MCCARTHY: This is the
22       A. Yes.                                         22         date of the incident?
23       Q. And throughout this deposition               23             MS. NICOLAOU: I wasn't
24 you kind of been answering English off and on.        24         asking...
25 Please, I'm going to ask you to keep it in            25         Q. How long were you at the karaoke
                                               Page 46                                                   Page 48
 1                  Y. Lee                                1                  Y. Lee
 2    Korean. That's why we have the translator           2   bar the evening of Mr. Shin's accident?
 3    here for you. Okay?                                 3        A. Thirty to forty minutes.
 4          A. Yes. I understand. I'm sorry.              4        Q. Let me reask the question.
 5          Q. Is it Mr. Hong or Hang? Can you            5             You arrived to the karaoke bar
 6    spell that?                                         6   what time?
 7          A. H-O-N-G.                                   7        A. A little after nine.
 8          Q. Mr. Hong, who is he to you; a              8        Q. What time did Mr. Shin's
 9    friend, business partner or something else?         9   accident occur?
10          A. Friend.                                   10        A. I don't have the accurate time,
11          Q. How long have you known him?              11   but I think it was after ten. Ten or 11. I
12          A. About 30 years.                           12   don't know.
13          Q. Do you have a business                    13        Q. So your recollection is that
14    relationship with him as well?                     14   from the time that you arrived to the karaoke
15          A. No.                                       15   bar up until the time of Mr. Shin's accident,
16          Q. What about Mr. Park, do you have          16   approximately, give or take, one and a half to
17    a business relationship with him as well?          17   two hours had passed?
18          A. No.                                       18        A. From my recollection
19          Q. Was it the first time that you            19   approximately, yeah.
20    met Mr. Park was on the date of Mr. Shin's         20        Q. When Mr. Shin first entered your
21    fall?                                              21   room, you had testified that I think earlier
22          A. From my recollection, yes.                22   that you appeared to be a little intoxicated;
23          Q. Was this your first time at the           23   is that correct?
24    this particular karaoke bar?                       24        A. Yes.
25          A. No. From my recollection I was            25        Q. I believe you also testified
[4/15/2019] Shin vs YSE                                                                           Pages 45 - 48
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 15 of 37 PageID #: 1042

                                              Page 49                                                 Page 51
 1                  Y. Lee                               1                  Y. Lee
 2    that he finished off the first bottle of Blue      2        Q. And the second bottle is ordered
 3    Walker; is that correct?                           3   before you left to use the restroom; is that
 4          A. I didn't say he finished                  4   correct?
 5    completely the first bottle, but he drank a        5        A. Probably. Yes.
 6    lot.                                               6        Q. How much time passed from when
 7          Q. That's fine.                              7   the second bottle was brought into the room up
 8              What precisely did you observe           8   until the time you left to use the restroom?
 9    him drink? Just Johnnie Walker or did you see      9        A. Okay. I don't understand what
10    him mix any other alcoholic beverages with it     10   you mean.
11    or something else?                                11        Q. From the time that the second
12          A. On our table there was only              12   bottle of Johnnie Walker was delivered to the
13    Johnnie Walker Blue.                              13   room, how much time had passed until you went
14          Q. Was there any beer?                      14   to use the restroom?
15          A. No.                                      15        A. Okay. Your question is unclear.
16          Q. Approximately how many glasses           16   Confusing. I went to the bathroom after
17    of Johnnie walker did Mr. Shin have when the      17   Mr. Shin left the room.
18    first bottle was still on the table?              18        Q. Oh, I'm sorry. I apologize.
19          A. I really can't count. I don't            19            Okay. So how much time passed
20    know, but he drank a lot.                         20   from the point the second bottle was delivered
21          Q. Did he appear more intoxicated           21   up until the time Mr. Shin left the room?
22    while he was in your room?                        22        A. From my recollection, about 20
23          A. Yes.                                     23   to 30 minutes.
24          Q. As he was becoming more                  24        Q. In that 20 to 30 minutes, do you
25    intoxicated, was he louder? Was he funnier?       25   recall how many drinks Mr. Shin had from the
                                              Page 50                                                 Page 52
 1                   Y. Lee                              1                  Y. Lee
 2    How was his personality?                           2   second bottle of Johnnie Walker Blue?
 3          A. He was rough.                             3        A. Okay. I don't know how many
 4          Q. He was getting angry?                     4   glasses, because he took the entire bottle in
 5          A. Yes, he appeared to be angry and          5   his hand and just poured it down from the
 6    he was heavily intoxicated.                        6   bottle. So I don't know how many glasses.
 7          Q. Did you observe this before you           7        Q. Did you observe him drinking
 8    left for the restroom?                             8   from the first bottle in a similar fashion?
 9          A. Yes.                                      9        A. For the first bottle he drank it
10          Q. Did you observe this before the          10   from the cups, a few shots. And then after
11    second bottle of Johnnie Walker was ordered?      11   that he just drank off the bottle, the first
12          A. Yes.                                     12   bottle.
13          Q. I understand that it was                 13        Q. So he drank in a similar fashion
14    Mr. Shin that ordered the second bottle of        14   with the first and second bottle directly from
15    Johnnie Walker; is that correct?                  15   the bottle?
16          A. From what I know, yes.                   16        A. From my observation, yes.
17          Q. Did you hear Mr. Shin ask a              17        Q. Did anyone in that room have any
18    waiter to bring another bottle of Johnnie         18   alcohol from the second bottle other than
19    Walker?                                           19   Mr. Shin?
20          A. No.                                      20        A. From my recollection no other
21          Q. How is it that you know that             21   people drank, because Mr. Shin was being very
22    Mr. Shin ordered a second bottle?                 22   rowdy.
23          A. When I asked, I think I heard            23        Q. Was Mr. Park awake during the
24    that the bottle was brought in, because           24   entire time that you were in the room with him
25    Mr. Shin ordered it.                              25   and Mr. Hong?
[4/15/2019] Shin vs YSE                                                                         Pages 49 - 52
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 16 of 37 PageID #: 1043

                                                 Page 53                                                Page 55
 1                 Y. Lee                                   1                 Y. Lee
 2         A. Yes.                                          2   was speaking profanities, cruel words.
 3         Q. What about Mr. Hong --                        3         Q. What was he saying precisely?
 4         A. Mr. Hong was -- who are you                   4         A. He threw F bombs. Anything like
 5    asking?                                               5   curse words.
 6         Q. Mr. Park.                                     6         Q. Was he directing that to anyone
 7         A. Yeah, he was awake. Mr. Park,                 7   in particular?
 8    he had a few drinks himself, but in my                8         A. He was and then he start, you
 9    recollection he was awake.                            9   know, his yelling was directed at me.
10         Q. Other than Mr. Shin appearing to             10         Q. Who was he directing the cursing
11    be intoxicated, did Mr. Park appear being            11   initially to?
12    intoxicated?                                         12         A. That I don't know.
13         A. No.                                          13         Q. Did you approach Mr. Shin at any
14         Q. What about Mr. Hong?                         14   time after you left the restroom before his
15         A. No.                                          15   accident about his language or his demeanor?
16         Q. Then at one point Mr. Shin left              16              MR. MCCARTHY: Objection to
17    the room. At that point you left the room to         17         form, but if you understand it.
18    use the bathroom; is that correct?                   18         A. It's a short distance from the
19         A. Yes, that is correct.                        19   bathroom to the door and to the landing. And
20         Q. Did you return back to the room              20   Mr. Shin was yelling and cursing, as was shown
21    after you used the restroom?                         21   in the video.
22         A. After I used the restroom and                22         Q. Why did you approach Mr. Shin?
23    after I came out of the restroom, Mr. Shin was       23              MR. MCCARTHY: Objection to
24    yelling and cursing. And then that's how the         24         form.
25    incident unfolded.                                   25         A. From my recollection, he was
                                                 Page 54                                                Page 56
 1                  Y. Lee                                  1                 Y. Lee
 2         Q. So you didn't make it back into               2   cursing at me.
 3    the room; is that correct?                            3        Q. So he started cursing at you
 4             MR. MCCARTHY: Before.                        4   when he saw you?
 5         Q. After you used the restroom, you              5        A. Yes.
 6    didn't make it back into the room before              6        Q. At that point you approached
 7    Mr. Shin's accident?                                  7   him?
 8         A. Yes (English).                                8        A. From my recollection, because he
 9         Q. Mr. Lee please speak only in                  9   was cursing and yelling, I approached him out
10    Korean. Okay.                                        10   of curiosity not with the intention to fight,
11             MS. NICOLAOU: I'm talking                   11   but rather out of curiosity.
12         to your daughter. You cannot make               12        Q. What was he saying to you when
13         any expressions. You cannot talk.               13   he saw you?
14         You cannot gesture.                             14        A. Profanities and he stuck his
15             (The record is read back by                 15   finger up and he was cursing.
16         the reporter.)                                  16        Q. During that time, did Mr. Shin
17         A. Yes, that is correct.                        17   appear to you to be intoxicated?
18         Q. And that is because you heard                18        A. Yes, he was heavily intoxicated.
19    Mr. Shin yelling?                                    19        Q. Was he stable on his feet?
20         A. Yes.                                         20        A. No, he was unstable. I was able
21         Q. Was he yelling in English, in                21   to see he was unstable on his feet.
22    Korean or some other language?                       22        Q. I know we saw this video. Just
23         A. In Korean.                                   23   bear with me. Exhibit 1 marked on March 15th.
24         Q. What was he saying?                          24   2019.
25         A. He was saying profanities. He                25            Now, sir, there's four
[4/15/2019] Shin vs YSE                                                                           Pages 53 - 56
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 17 of 37 PageID #: 1044

                                                Page 57                                                  Page 59
 1                   Y. Lee                                1                 Y. Lee
 2    individuals in this video at 14 seconds into         2        A. I don't recall, but it seems
 3    the footage, which is two minutes and                3   that way.
 4    22 seconds long; is that correct?                    4        Q. And then Mr. Shin turns around
 5         A. Yes.                                         5   and looks at you, right?
 6         Q. There's a gentleman with his                 6        A. Yeah, I think he was pushing me
 7    back to the video that is in a green shirt.          7   at the time.
 8    Is that you, sir?                                    8        Q. He was pushing you away. Do you
 9         A. Yes.                                         9   recall what you guys were discussing on the
10         Q. And then there's three gentlemen            10   top of the stairs, you and who we now know to
11    directly in front of you all wearing glasses;       11   be Mr. Chung Lee, Mr. Shin looks like?
12    is that right?                                      12        A. Now that person recognize me.
13         A. Yes.                                        13        Q. Which person, sir? This person
14         Q. If we're looking at the video               14   (indicating)?
15    footage, the first gentleman to the left            15        A. (Indicating).
16    wearing glasses that has an arm around his          16            MS. NICOLAOU: For the
17    shoulder, is that the owner of the restaurant       17        record Chung Lee.
18    in the building?                                    18        Q. Go ahead.
19         A. Yes.                                        19        A. And I also recognized him, so we
20         Q. The gentleman immediately in the            20   shook hands.
21    middle of the three, is that Mr. Shin?              21        Q. You were saying hello?
22         A. Yes.                                        22        A. Yes.
23         Q. The gentleman immediately to his            23        Q. Was that the first time that you
24    right, is that his employee to your knowledge?      24   saw Mr. Chung Lee that evening?
25         A. Yes, that is correct.                       25        A. Yes.
                                                Page 58                                                  Page 60
 1                  Y. Lee                                 1                 Y. Lee
 2         Q. Now, I moved it back about one               2        Q. At that point, Mr. Shin, is he
 3    second. 12 seconds into the video.                   3   leaning up against the wall on top of the
 4              You see Mr. Shin about to give             4   stairs?
 5    Mr. Lee, who is another Lee, not you, the            5        A. Yeah (English).
 6    other Lee, the owner of the restaurant               6        Q. Was he unstable to your
 7    downstairs stays.                                    7   recollection? Not necessarily what's shown in
 8         A. It's Chung K. Lee.                           8   the video, but to your recollection was
 9         Q. Chung K. Lee gives him a kiss;               9   Mr. Shin unstable on his feet?
10    is that right? When you press play, he gives        10            MR. MCCARTHY: Asked and
11    him a kiss?                                         11        answered, but I'll allow him to
12              MR. MCCARTHY: Looks like                  12        answer.
13         Mr. Lee is --                                  13        A. Yeah, one foot was in the air.
14         Q. Mr. Chung Lee is giving Mr. Shin            14   So he was rather in the precarious position to
15    a kiss; is that right?                              15   my knowledge.
16         A. I don't know if it's a kiss, but            16        Q. To your knowledge, from your
17    it appears to be that way.                          17   recollection that evening, while you were on
18              MS. BERKOWITZ: Bear hug.                  18   top of the stairs, was Mr. Shin, when he was
19              THE WITNESS: Yeah, a bear                 19   leaning up against the wall, using it more as
20         hug.                                           20   a support?
21         Q. So, Mr. Lee, do you see your                21        A. Yes.
22    hand on Mr. Shin's back?                            22        Q. To hold himself up?
23         A. Yeah.                                       23        A. Yes, appeared to be that way.
24         Q. At that point you grab his                  24        Q. I'm stopping at one minute and
25    jacket; is that right? Is that right, sir?          25   42 seconds into the video.
[4/15/2019] Shin vs YSE                                                                            Pages 57 - 60
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 18 of 37 PageID #: 1045

                                               Page 61                                                Page 63
 1                 Y. Lee                                 1                 Y. Lee
 2             Now, at this point Mr. Shin is             2   correct?
 3    holding up his middle finger at you; is that        3        A. Yeah.
 4    correct?                                            4            MS. NICOLAOU: 1, 53 into
 5         A. Yes.                                        5        the video.
 6         Q. Do you know why?                            6        Q. At that point Mr. Lee who
 7         A. I don't know.                               7   removed Mr. Chung Lee's hands from your face;
 8         Q. Was it because he was being loud            8   is that correct [sic]?
 9    and drunk?                                          9        A. Yes.
10         A. Well, the Mr. Shin that I saw on           10        Q. Is it because you were getting
11    that evening, you know, he appeared that he        11   upset?
12    would behave in the same way to anybody.           12        A. No, I don't think so.
13         Q. Whether he was drunk or sober?             13        Q. Why did you remove his hands
14         A. Whether he was drunk.                      14   from your face?
15             MR. MCCARTHY: Objection to                15        A. Aren't you supposed to remove
16         form.                                         16   hands when a stranger placed his hands on your
17         Q. Do you recall why he raised his            17   face?
18    middle finger at you at that point?                18        Q. Did Mr. Chung Lee, the owner of
19             MR. MCCARTHY: It's been                   19   the restaurant downstairs, did he appear to be
20         asked and answered.                           20   intoxicated?
21         A. I don't know.                              21        A. I think so, because he was also
22             MS. NICOLAOU: We're a                     22   drinking in another room.
23         minute and 48 seconds into the                23        Q. How do you know he was drinking
24         video.                                        24   in another room?
25         Q. Is Mr. Shin's middle finger                25        A. Okay. I was told that he came
                                               Page 62                                                Page 64
 1                   Y. Lee                               1                 Y. Lee
 2    still at you? Yes? You have to answer the           2   with Mr. Shin.
 3    question, sir?                                      3        Q. At the time when you were
 4          A. Yeah.                                      4   standing on top of the staircase with
 5               MS. NICOLAOU: At this point              5   Mr. Shin, his employee and Mr. Chung Lee, did
 6          we're at one minute and 51 seconds            6   Mr. Chung Lee appear to be intoxicated?
 7          into the video.                               7            MR. MCCARTHY: Asked and
 8          Q. Mr. Chung Lee puts his hands on            8        answered, but I'll allow him to
 9    your face.                                          9        answer again.
10               Do you recall him doing that            10        A. That I don't know.
11    that evening?                                      11            MS. NICOLAOU: Going one
12          A. Yes.                                      12        minute and 55 seconds into the
13          Q. Do you recall what Mr. Chung Lee          13        video.
14    was saying to you?                                 14        Q. After you push his hands away,
15          A. Okay. I don't recall, but he              15   Mr. Chung's Lee hands away from your face,
16    would just holding me and keeping me from --       16   about one minute and 55 seconds into the
17    he was trying to, you know --                      17   video, Mr. Chung Lee puts his hands back on
18          Q. Kind of diffuse the situation?            18   your face; is that correct?
19          A. Diffuse the situation. Try to             19        A. Yes, seems that way, yes.
20    calm me down.                                      20        Q. Then you push him away again; is
21          Q. Were you getting upset?                   21   that correct?
22          A. I was upset, but I wasn't really          22        A. Yes. At that time I think I
23    enraged.                                           23   was a little angry, because three people
24          Q. At that point you removed                 24   behaving in such a way I think I was angry,
25    the other Lee's hands from your face; is that      25   getting angry at the time.
[4/15/2019] Shin vs YSE                                                                         Pages 61 - 64
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 19 of 37 PageID #: 1046

                                                Page 65                                                 Page 67
 1                    Y. Lee                               1                  Y. Lee
 2               MR. MCCARTHY: Could you                   2   left hand and he's, for the fourth time,
 3          tell him just answer the question.             3   putting his left hand this time on your face;
 4          Tell him that.                                 4   is that correct?
 5          Q. At one minute and 57 seconds                5         A. Yes.
 6    into the video, Mr. Shin's middle finger is          6         Q. Is Mr. Shin, in this video, two
 7    still up in the air; is that correct?                7   minutes and one second, still holding up his
 8          A. Yes.                                        8   middle finger?
 9          Q. One minute and 59 seconds into              9         A. Yes.
10    the video, Mr. Chung Lee puts his hands on          10         Q. At two minutes and four seconds,
11    your face a third time; is that correct?            11   is Mr. Chung Lee holding your hands down in
12          A. Yes.                                       12   this video?
13          Q. Do you know what he was saying             13             MR. MCCARTHY: Objection to
14    to you, Mr. Chung Lee, during this time?            14         form.
15          A. From my recollection he wasn't             15         Q. Do you want me to remind it?
16    saying any words. He would just be putting          16             MS. NICOLAOU: Ask him if he
17    his hands -- but he wasn't saying any words         17         wants me to rewind it.
18    from my recollection.                               18         A. No, because I don't know --
19          Q. Two minutes and one second into            19   because my face, I don't know if I was angry.
20    the video, is Mr. Chung Lee holding your left       20         Q. I'm not asking if you were
21    hand back?                                          21   angry. I'll rewind it a little bit back to
22          A. No, I don't recall.                        22   two minutes and two seconds into the video.
23          Q. I'm just asking with the video.            23             In this video Mr. Shin is still
24    Not necessarily -- let me rewind it.                24   holding up his middle finger, correct?
25               At this point, two minutes into          25         A. Yes.
                                                Page 66                                                 Page 68
 1                  Y. Lee                                 1                 Y. Lee
 2    the video, you see Mr. Chung Lee's left hand         2        Q. Is it fair to say that Mr. Chung
 3    on your left arm; is that correct?                   3   Lee is at this point holding, at least with
 4             MR. MCCARTHY: What is that?                 4   his left hand, your right wrist down; is that
 5             MS. NICOLAOU: Two minutes.                  5   correct?
 6         A. Yes.                                         6        A. Yes.
 7         Q. And you see Mr. Chung Lee's                  7        Q. And two minutes and four seconds
 8    right hand at that point holding your -- I'm         8   into the video, Mr. Chung Lee, with his right
 9    sorry.                                               9   hand is holding your left wrist down; is that
10             Let me get my left and rights --           10   correct?
11    let me start over.                                  11        A. Yes.
12             Mr. Chung Lee's left hand is               12        Q. And you're still up against the
13    holding your right arm above your elbow at two      13   wall at this point; is that correct?
14    minutes into the video; is that correct?            14        A. Yes.
15         A. Yes.                                        15        Q. Now two minutes and five seconds
16         Q. At that point is he holding you             16   into the video, Mr. Shin is still holding up
17    up against the wall?                                17   his middle finger?
18         A. Yes, appears to be that way.                18        A. Yes.
19         Q. Mr. Chung Lee's right hand is               19        Q. And based on this video, do we
20    holding your left hand up against the wall; is      20   have a clear view of how Mr. Shin is standing?
21    that correct?                                       21        A. Yes.
22         A. Appears to be that way.                     22        Q. So is it fair to say that
23         Q. At that point, and I'm looking              23   Mr. Shin is leaning up against the wall?
24    at two minutes and one second into the video,       24        A. Yes.
25    Mr. Chung's Lee's right hand is holding your        25        Q. With his right foot on the first
[4/15/2019] Shin vs YSE                                                                           Pages 65 - 68
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 20 of 37 PageID #: 1047

                                                  Page 69                                                  Page 71
 1                  Y. Lee                                   1               Y. Lee
 2    step?                                                  2       A.   Yes.
 3         A. Yes.                                           3       Q.    Were you subsequently charged?
 4         Q. And his left foot on the                       4            MR. MCCARTHY: It's yes or
 5    landing?                                               5        no.
 6         A. Yes.                                           6        Q. Yes or no, Mr. Lee, were you
 7         Q. Two minutes and 12 seconds into                7   charged after your arrest that evening; yes or
 8    the video, is Mr. Shin still holding up his            8   no?
 9    middle finger?                                         9            MS. NICOLAOU: Translate
10         A. Yeah.                                         10        what he just said.
11         Q. Are you starting to hold up your              11        A. I don't know if I was charged
12    middle finger at this point?                          12   with anything.
13         A. Yes.                                          13        Q. Did you plead guilty to anything
14         Q. Would it be fair to say that you              14   as a result of your arrest in connection with
15    were getting more upset over the situation?           15   Mr. Shin's fall down the staircase?
16         A. You could say that.                           16            THE INTERPRETER: Can I ask
17         Q. Now I'm going to hit play at two              17        him to repeat again?
18    minutes and 15 seconds into the video, okay.          18            MS. NICOLAOU: Of course.
19    Goes by really fast. Ready?                           19        A. I don't know if I was charged
20             (Playing video.)                             20   with harassment, but I paid $60 or $90. So I
21         Q. Based on this footage, Mr. Lee,               21   don't know if I was charged.
22    did you kick Mr. Shin?                                22        Q. Did you plead guilty to a
23         A. I didn't kick Mr. Shin                        23   charge?
24    (English).                                            24        A. I accepted the fact to the
25         Q. Could you please answer in                    25   harassment charge.
                                                  Page 70                                                  Page 72
 1                 Y. Lee                                    1                  Y. Lee
 2    Korean.                                                2         Q. Was there a fine in connection
 3          A. No, I did not kick him.                       3   with you pleading guilty to harassment?
 4          Q. After Mr. Shin fell down the                  4         A. I paid $90. I don't know if
 5    stairs, did you go down to check on him?               5   it's a fine, but I did pay $90.
 6          A. No, I did not.                                6         Q. In addition to the $90, were you
 7          Q. Did you go back to your room?                 7   placed on probation?
 8          A. Yes (English).                                8         A. No.
 9          Q. Why did you go back to your                   9         Q. Were you instructed to take any
10    room?                                                 10   form of classes as part of your harassment
11          A. Because I didn't think much of               11   guilty plea?
12    it. I just thought he would just get up and           12         A. No, I did not.
13    walk away.                                            13         Q. Did you have an attorney
14          Q. Do you believe, Mr. Lee, that                14   representing you in connection with the arrest
15    Mr. Shin's accident was a direct result of his        15   following Mr. Shin's accident?
16    intoxication?                                         16         A. Yes.
17          A. Yes, I think so.                             17         Q. And who was that attorney?
18          Q. That's because he wasn't stable              18             (Witness hands card).
19    on his feet?                                          19             THE INTERPRETER: Chan Woo
20          A. I think so.                                  20         Lee.
21          Q. Is it also because he was using              21         Q. When did you plead guilty to the
22    the wall to hold himself up?                          22   harassment? Just approximate.
23          A. Yes.                                         23             MR. MCCARTHY: Estimate.
24          Q. Now, Mr. Lee, you were arrested              24         A. March 15, 2018.
25    that evening?                                         25         Q. Was that Queens County Criminal
[4/15/2019] Shin vs YSE                                                                              Pages 69 - 72
     Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 21 of 37 PageID #: 1048

                                                 Page 73                                                     Page 75
 1                  Y. Lee                                  1
 2 Court?                                                       STATE OF NEW YORK )
 3      A. Yes.                                             2             ) ss.:
 4      Q. Did you ever tell the police                         COUNTY OF NEW YORK )
 5 after your arrest that you kicked Mr. Shin?              3
 6      A. No.                                                         CERTIFICATE
 7      Q. Have you ever had any prior                      4
 8 convictions?                                             5       I, CHRISTINE CUTRONE, Shorthand
 9      A. No.                                              6   Reporter and a Notary Public within and
10            MS. NICOLAOU: Let's take a                    7   for the State of New York, do hereby
11      five minute break.                                  8   state:
12            (Whereupon, a short break                     9       That the witness whose examination is
13      was taken.)
                                                           10   herein before set forth was duly sworn and
14 EXAMINATION BY MS. BERKOWITZ:
                                                           11   that such an examination is a true record
15      Q. Did you ever tell anybody after
                                                           12   of the testimony given by such a witness.
16 that night that you kicked Mr. Shin?
                                                           13       I further state that I am not related
17      A. No, I did not.
18            MS. BERKOWITZ: Thank you.                    14   to any of these parties to this action by
19            (Time noted: 1:51 p.m.)                      15   blood or marriage, and that I am not in
20                                                         16   any way interested in the outcome of this
               -----------------------                     17   matter.
21                   YOUNG KU LEE                          18       IN WITNESS WHEREOF, I have hereunto
   Subscribed and sworn to                                 19   set my hand this 25th day of April, 2019.
22 before me this           day                            20
   of      , 2019                                          21
23                                                         22
24                                                         23
   Notary Public                                           24             CHRISTINE CUTRONE
25                                                         25
                                                 Page 74
 1
                 INDEX
 2
 3
 4 WITNESS            EXAMINATIONS        PAGE
 5
             MR. BASIL     4
 6 Young Ku Lee              4
 7           MS. BERKOWITZ      36
             MS. NICOLAOU      45
 8           MS. BERKOWITZ      73
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
[4/15/2019] Shin vs YSE                                                                               Pages 73 - 75
      Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 22 of 37 PageID #: 1049
                                 Transcript Word Index
[& - 9:30]

              &        12                     2017 (cont.)          48
&                       58:3 69:7              11:3 23:22            61:23
    2:14,19            1270                   2018                            5
                        2:4                    72:24
              0                                                     50
                       135                    2019
05183                                                                7:9
                        1:22                   1:11 22:24 25:15
 1:5                                                                51
                       14                      56:24 73:22 75:19
07039                                                                62:6
                        57:2                  21
 1:22                                                               53
                       15                      10:11,15,21,24
                                                                     63:4
              1         1:11 7:19 69:18        11:2 23:22
                                                                    55
1                       72:24                 21st
                                                                     64:12,16
  25:14,23 31:4,14     15th                    7:24 9:9
                                                                    57
  56:23 63:4            25:15 56:23           22
                                                                     65:5
1:17                   167417fac               57:4
                                                                    59
  1:5                   2:17                  22nd
                                                                     65:9
1:51                   168th                   7:24
                        4:20                  25th                           6
  73:19
10                     1700                    75:19                60
  24:17                 2:21                  26                     71:20
100                    174                     2:20                 683
  2:11                  38:7                            3            7:14
10-00                  175                                                    7
                                              30
  24:17                 38:10                                       73
                                               28:4,5,9 29:16,20
10001                  199                                           74:8
                                               29:24 30:3,7,8,12
  2:5                   1:12                                        76-28
                                               46:12 51:23,24
10601                  1st                                           4:20
                                              305
  2:11                  22:24
                                               2:4                            8
11                              2             36                    81
  48:11                20                      74:7                  2:10
11:15                   13:2,3,10,17,20                4
  1:11                                                                        9
                        14:7,24 28:4,5,9
11242                                         4                     9
                        29:16,20,24 30:3,7
  2:21                                         74:5,6                 38:20
                        30:8,12 37:5 51:22
11366                                         400                   9:20
                        51:24
  4:21                                         24:9                   38:21
                       200
11507                                         42                    9:30
                        2:15 23:13
  2:16                                         60:25                  38:21
                       2017
                                              45
                        9:9 10:11,15,21,24
                                               74:7

                                 [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 23 of 37 PageID #: 1050

[90 - back]

90                   agreed                 appear                arrive
 71:20 72:4,5,6        3:2,6,10               28:23 49:21 53:11     38:17
900                  ahead                    56:17 63:19 64:6    arrived
 24:2,6 41:6           7:8 9:16,18 59:18    appeared                13:4 28:21 48:5,14
973-740-1331         ahmuty                   48:22 50:5 60:23    asked
 1:23                  2:14                   61:11                 29:3,5 30:24 39:22
         a           air                    appearing               39:23 50:23 60:10
                       60:13 65:7             53:10                 61:20 64:7
a.m.
                     albertson              appears               asking
  1:11
                       2:16                   26:10,15 58:17        45:16 47:24 53:5
able
                     alcohol                  66:18,22              65:23 67:20
  21:16 56:20
                       18:13 52:18          appetizer             assets
accepted
                     alcoholic                39:23                 6:22
  71:24
                       13:5,11 17:9 18:22   apply                 ate
accident
                       28:6,10,24 49:10       45:18                 37:15
  35:14,23 48:2,9,15
                     allow                  appreciate            attempted
  54:7 55:15 70:15
                       60:11 64:8             36:18                 8:13
  72:15
                     angry                  approach              attorney
accompany
                       32:7 50:4,5 64:23      55:13,22              5:22 34:14 36:24
  19:3
                       64:24,25 67:19,21    approached              72:13,17
accurate
                     answer                   56:6,9              attorneys
  5:14 48:10
                       6:24,25 15:21        approximate             2:3,8,15,19 3:3 8:8
acknowledged
                       22:16 33:16 60:12      72:22               attorney's
  34:21
                       62:2 64:9 65:3       approximately           36:13
action
                       69:25                  48:16,19 49:16      authorized
  75:14
                     answered               april                   3:12
addition
                       29:3,5 60:11 61:20     1:11 7:24,24 9:9    awake
  72:6
                       64:8                   10:11,15,21,24        52:23 53:7,9
additional
                     answering                11:2 23:22 75:19    aware
  15:18 16:5 28:6,14
                       45:24                arguments               33:7
address
                     answers                  20:13                         b
  4:19 6:8 34:14
                       4:12 5:5,7,14        arm
administer                                                        back
                     anybody                  57:16 66:3,13
  3:13                                                             15:24 20:19 21:10
                       42:11,14 43:6        arrest
afternoon                                                          27:19,20 40:4,21
                       61:12 73:15            30:25 35:10 71:7
  36:23 45:15                                                      40:22 42:15 53:20
                     anymore                  71:14 72:14 73:5
ago                                                                54:2,6,15 57:7 58:2
                       28:19 36:17          arrested
  7:19                                                             58:22 64:17 65:21
                     apologize                30:23 70:24
                                                                   67:21 70:7,9
                       51:18

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 24 of 37 PageID #: 1051

[backup - charge]

backup              behaving             bottle (cont.)       businesses
 25:18                64:24               44:16,20,21,23,25    21:8
bad                 believe               49:2,5,18 50:11,14 buy
 34:12                10:19 35:21 48:25   50:18,22,24 51:2,7 47:18
bank                  70:14               51:12,20 52:2,4,6,8 buying
 21:18 26:8         believed              52:9,11,12,14,15     47:9
bar                   35:14               52:18                         c
 11:4,7,7,17 14:25 berkowitz             bottles
                                                              call
 17:9,12 18:10        2:17 8:25 9:13 13:6 23:13,19,21 41:6
                                                               8:20
 28:22 36:25 37:3     15:19 23:9,15,23 boulevard
                                                              calling
 38:12,23 39:5        26:17 29:2 36:22    8:3 9:5
                                                               8:16
 41:24 43:10,15,20    36:24 40:17 42:17 brand
                                                              calm
 44:3 46:24 47:16     42:22 43:3 44:10    38:2
                                                               62:20
 47:20 48:2,5,15      45:11 58:18 73:14 break
                                                              captured
barbecue              73:18 74:7,8        36:7 73:11,12
                                                               31:20
 37:13,14,18        beverage             breakup
                                                              car
based                 28:11               12:10
                                                               38:16
 68:19 69:21        beverages            breathalyzer
                                                              card
basil                 13:5,11 17:9 18:22 44:12
                                                               72:18
 2:3,6 4:14,23 12:12 28:6,25 49:10       briefly
                                                              carmen
 21:21 25:11 26:19 bit                    5:24
                                                               2:12 45:16
 26:25 29:25 30:9     67:21              bring
                                                              case
 31:7 34:4 35:17    black                 44:19 50:18
                                                               4:24 8:16 34:3
 36:3,16 74:5         23:12              broadway
                                                              cedar
bathroom            blood                 2:4 7:14
                                                               1:22
 15:13 27:6 51:16     75:15              brooklyn
                                                              cell
 53:18 55:19        blue                  2:21
                                                               26:3
bear                  13:15 14:2,11,14 brought
                                                              centimeters
 56:23 58:18,19       16:8,12,17,21 19:6 11:16 13:11,25
                                                               38:7
becoming              23:14,18 24:3 27:8 14:3 15:15,16 28:6
                                                              certified
 49:24                39:20 40:2 41:7     39:19 40:6,16,24
                                                               1:21
beer                  49:2,13 52:2        41:11 44:20,22,24
                                                              chan
 13:16,18 17:14     bob                   50:24 51:7
                                                               72:19
 37:23,25 49:14       23:16              building
                                                              chance
begins              bombs                 8:3 31:16 57:18
                                                               5:21
 26:24                55:4               business
                                                              charge
behave              bottle                6:13 8:21 9:3 11:15
                                                               24:9 30:24 71:23
 61:12                16:3,7,8 39:20 40:5 33:14 46:9,13,17
                                                               71:25
                      40:18,25 41:3

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 25 of 37 PageID #: 1052

[charged - dinner]

charged                confusing            court                  date
  71:3,7,11,19,21       51:16                 1:1,21 2:20 3:15       22:21 46:20 47:22
chartwell              connection             5:15 73:2            daughter
  2:8                   71:14 72:2,14       cpa                      54:12
check                  consume                11:16,22,23 15:12    day
  70:5                  18:21 28:16           15:16 25:7 39:14       8:4 17:10 73:22
chicken                consumed             criminal                 75:19
  24:13 41:14,15        16:13 17:9 28:12      72:25                deborah
christine               28:25               cruel                    1:8 2:10
  1:18 75:5,24         contact                55:2                 decide
chung                   8:13                cup                      29:18
  58:8,9,14 59:11,17   conversations          16:15,19,24 17:6     defendant
  59:24 62:8,13 63:7    36:12                 17:14 18:25 37:22      1:16 2:8,19
  63:18 64:5,6,17      convictions            38:3,4               defendants
  65:10,14,20 66:2,7    73:8                cups                     1:9 2:15
  66:12,19 67:11       corner                 52:10                defendant's
  68:2,8                24:16               curiosity                22:14 24:4
chung's                correct                56:10,11             deh
  64:15 66:25           5:23 6:2 9:24 16:10 currently                1:8 2:10
cirillo                 18:2 27:24 31:15      6:4                  deli
  1:21                  34:4 35:6,19 37:23 curse                     6:11 7:19
cirillo.robert          41:24 44:17 45:21     55:5                 delivered
  1:23                  48:23 49:3 50:15 cursing                     27:8 51:12,20
classes                 51:4 53:18,19 54:3 27:4 29:9,13 31:10      demeanor
  72:10                 54:17 57:4,25 61:4 31:22,23 32:2,5           55:15
clear                   63:2,8 64:18,21       42:5,10,11,13 43:7   demers
  17:23 43:2 68:20      65:7,11 66:3,14,21 53:24 55:10,20            2:14
client                  67:4,24 68:5,10,13 56:2,3,9,15             deposition
  4:25                 counsel              cussing                  3:11 4:24 6:21 8:6
closed                  2:22                  42:14                  8:21 45:23
  44:3,6               count                cutrone                depositions
coke                    49:19                 1:18 75:5,24           22:14
  40:7                 county               cv                     different
comfortable             72:25 75:2            1:5                    12:11 42:2,3
  45:20                couple                         d            diffuse
compensation            36:4                                         62:18,19
                                            d'apice
  34:18                course                                      dinner
                                              2:19
completely              32:10,14 71:18                               37:2
  49:5

                                [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 26 of 37 PageID #: 1053

[direct - face]

direct                 drinks                employee (cont.)      evening
  70:15                 8:18 9:12 14:22       13:22 14:19 26:8      8:9,14,18 9:4,12,24
directed                15:18 19:9,12,16      26:15,18 39:5,6,22    10:24 11:2 15:7
  55:9                  19:20 20:4 45:6       41:2 57:24 64:5       17:10,20 18:17,21
directing               47:18 51:25 53:8     employees              19:5,22 22:11
  55:6,10              drove                  14:25 15:5 20:3       28:22,25 32:11,14
directly                38:15                 32:22 43:9,12,23      36:11 47:14 48:2
  52:14 57:11          drunk                 employer               59:24 60:17 61:11
discuss                 20:15 61:9,13,14      6:10 40:6             62:11 70:25 71:7
  21:8                 duly                  employment            events
discussing              4:3,8 75:10           6:5 7:18              7:22 8:8,13
  59:9                          e            english               eventually
discussion                                    4:11,12 5:6 13:24     35:4
                       earlier
  22:8                                        16:25 20:24 45:19    exactly
                         16:9 29:8 42:4
discussions                                   45:24 54:8,21 60:5    17:7 39:7
                         44:15 48:21
  22:10                                       69:24 70:8           examination
                       east
distance                                     enraged                1:15 4:14 36:22
                         1:22
  20:23 21:3 55:18                            32:9 62:23            45:14 73:14 75:9
                       eastern
district                                     entered                75:11
                         1:1
  1:1,1 36:13                                 12:24 16:18,22       examinations
                       eat
doing                                         48:20                 74:4
                         37:12 41:10,17
  5:4 62:10                                  enterprises           examined
                       edward
door                                          1:7                   4:5
                         1:2 4:25 7:22 10:12
  44:2,4,9 55:19                             entire                exhibit
                         10:14,20 11:3
downstairs                                    16:3 52:4,24          22:15,22,23,25
                       effect
  26:13 58:7 63:19                           entities               24:4,7,10,14 25:14
                         3:14
drank                                         5:2                   25:23 31:4,14
                       either
  16:6,14,17,22                              entitled               56:23
                         19:19 20:4 25:4
  19:18,23 28:14                              6:20                 express
                         36:12
  49:5,20 52:9,11,13                         esq                    21:17
                       elbow
  52:21                                       2:6,12,14,17,22      expressions
                         66:13
drink                                        esqs                   54:13
                       embarrassing
  13:18 14:8,16                               2:19                 extent
                         8:11
  18:24,24,25 19:4,6                         establishment          27:2 34:10
                       employed
  19:25 20:7 28:20                            8:17 9:8,11,23                 f
                         6:7 7:17
  41:12 47:10 49:9                           estimate
                       employee                                    face
drinking                                      16:20 19:12 28:24
                         11:17,25 12:3,4,15                          62:9,25 63:7,14,17
  14:6 18:13 52:7                             72:23
                         12:17,22 13:8,12                            64:15,18 65:11
  63:22,23

                                [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 27 of 37 PageID #: 1054

[face - go]

face (cont.)         file                   force                  funnier
  67:3,19               2:17                  3:13                   49:25
fact                 filed                  form                   further
  71:24                 4:24                  3:7 8:24 9:2,14,18     3:6,10 36:11 75:13
fair                 filing                   10:4,6 12:20 13:7              g
  68:2,22 69:14         3:4                   13:14 15:20,23
                                                                   generated
fall                 fine                     21:13 23:24 27:2
                                                                     23:6
  9:10 35:23 46:21      10:9 49:7 72:2,5      30:6,15 32:20
                                                                   gentleman
  47:15 71:15        finger                   55:17,24 61:16
                                                                     57:6,15,20,23
fallen                  31:23 32:2,6 45:9     67:14 72:10
                                                                   gentlemen
  33:4,13               56:15 61:3,18,25 forth
                                                                     57:10
falling                 65:6 67:8,24 68:17 75:10
                                                                   gesture
  7:23 8:2              69:9,12             forty
                                                                     54:14
family               finished                 48:3
                                                                   getting
  8:10                  16:3 19:24 49:2,4 foundation
                                                                     21:24 22:6 50:4
fashion              first                    10:8
                                                                     62:21 63:10 64:25
  52:8,13               4:2,8 6:9 11:7      founded
                                                                     69:15
fast                    27:11 34:5 39:20      21:14
                                                                   give
  69:19                 40:17,25 44:20      four
                                                                     5:5,14 6:9 14:18
fault                   46:19,23 48:20        56:25 67:10 68:7
                                                                     48:16 58:4
  34:22                 49:2,5,18 52:8,9,11 fourth
                                                                   given
february                52:14 57:15 59:23     67:2
                                                                     75:12
  22:24                 68:25               frequent
                                                                   gives
feet                 five                     9:7
                                                                     58:9,10
  43:13 56:19,21        36:4 68:15 73:11 fresh
                                                                   giving
  60:9 70:19         flushing                 4:20
                                                                     45:9 58:14
fell                    37:11               friend
                                                                   glass
  17:20,24 32:17     followed                 11:14,15,21 26:7
                                                                     14:6 29:7
  33:3,7,8,8,11,13,21 38:24                   26:10 46:9,10
                                                                   glasses
  33:25 34:23 43:11 following               friends
                                                                     14:6 49:16 52:4,6
  43:24 70:4            72:15                 14:9 19:3,3
                                                                     57:11,16
female               follows                friend's
                                                                   gmail.com
  13:22,24,25 14:5      4:5,12                10:17,18
                                                                     1:23
  14:19 20:8         food                   front
                                                                   go
fight                   8:18 13:19            57:11
                                                                     7:8 9:16,18 25:11
  56:10              foot                   fruit
                                                                     27:13 29:18 33:20
fighting                60:13 68:25 69:4      13:21 24:12 39:24
                                                                     37:4 38:12 39:2,3
  35:12 36:2         footage                  41:10,11
                                                                     59:18 70:5,7,9
                        57:3,15 69:21

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 28 of 37 PageID #: 1055

[goes - interpreter's]

goes                     hand                   holding (cont.)        incident (cont.)
 69:19                     24:16 52:5 58:22      67:7,11,24 68:3,9       35:6,14 36:14
going                      65:21 66:2,8,12,19    68:16 69:8              47:22 53:25
 6:22 7:3 22:2 23:9        66:20,25 67:2,3      home                   index
 25:12 31:12,21            68:4,9 75:19          4:18 29:18              1:5
 45:16,25 47:17          hands                  hong                   indicating
 64:11 69:17               18:6,8 59:20 62:8     11:21,22 14:12,13       38:4 59:14,15
good                       62:25 63:7,13,16      14:16,21 19:9,13      individuals
 4:22 36:23 45:15          63:16 64:14,15,17     25:5 27:15 37:6         26:5 57:2
gotten                     65:10,17 67:11        38:12,15,16,25        initially
 38:20                     72:18                 39:2,3,25 46:5,8        55:11
grab                     hang                    47:17 52:25 53:3,4    injured
 58:24                     46:5                  53:14                   34:8,12
green                    harassment             hour                   injuries
 57:7                      71:20,25 72:3,10      18:11,13 19:2           34:11,14,18
greet                      72:22                hours                  instructed
 38:23                   hear                    16:23 48:17             72:9
grocery                    20:13 50:17          hug                    insult
 6:11                    heard                   58:18,20                21:5
group                      50:23 54:18          hurt                   insurance
 2:3                     heavily                 32:11                   34:20,20
guest                      50:6 56:18           husband                intend
 47:3,16                 height                  33:14                   32:11,13
guests                     38:6                           i            intending
 14:9 20:8               hello                                           31:15
                                                i.u.
guilty                     59:21                                       intention
                                                  2:15
 71:13,22 72:3,11        help                                            56:10
                                                ice
 72:21                     21:24 22:2                                  interest
                                                  40:7
guys                     hereunto                                        6:13,16 21:17
                                                identified
 59:9                      75:18                                       interested
                                                  23:4
         h               hit                                             22:5,5 75:16
                                                immediately
                           20:20 69:17                                 interpretations
hair                                              34:23 57:20,23
                         hitting                                         5:9
 20:17,22                                       important
                           20:16                                       interpreter
half                                              5:13
                         hold                                            29:23 31:6 71:16
 48:16                                          im's
                           60:22 69:11 70:22                             72:19
hallway                                           34:11
                         holding                                       interpreter's
 43:17,19,20                                    incident
                           61:3 62:16 65:20                              5:8
                                                  6:19 9:20,21 33:19
                           66:8,13,16,20,25

                                  [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 29 of 37 PageID #: 1056

[intoxicated - left]

intoxicated          karaoke (cont.)        knowledge            lee
  18:19 48:22 49:21    38:18,23 39:4          15:10 16:4 18:11     1:8,16 2:20 4:1,17
  49:25 50:6 53:11     41:24 43:10,15,20      28:18 30:18 44:14    4:22 5:1 6:1 7:1 8:1
  53:12 56:17,18       44:2,9 46:24 47:15     57:24 60:15,16       9:1 10:1 11:1,18
  63:20 64:6           47:19,25 48:5,14     known                  12:1 13:1 14:1 15:1
intoxication         keep                     46:11                16:1 17:1 18:1 19:1
  70:16                45:25                knows                  20:1 21:1 22:1 23:1
introduce            keeping                  27:2                 24:1 25:1,21 26:1
  15:14                62:16                korean                 27:1 28:1 29:1 30:1
introductory         kick                     4:11,12 5:5,8,25     31:1 32:1 33:1 34:1
  23:10                32:13 69:22,23         17:5 20:24,25        35:1 36:1 37:1 38:1
invite                 70:3                   40:12,12 46:2        39:1 40:1 41:1 42:1
  15:11              kicked                   54:10,22,23 70:2     43:1 44:1 45:1 46:1
irrevocable            73:5,16              ku                     47:1 48:1 49:1 50:1
  1:8 2:9            kim                      1:16 4:17 73:21      51:1 52:1 53:1 54:1
          j            2:24                   74:6                 54:9 55:1 56:1 57:1
                     kind                   kum                    58:1,5,5,6,8,9,13
jacket
                       32:24 37:25 45:24      37:8                 58:14,21 59:1,11
  58:25
                       62:18                           l           59:17,24 60:1 61:1
janice
                     kiss                                          62:1,8,13 63:1,6,18
  2:17 36:24                                landing
                       58:9,11,15,16                               64:1,5,6,15,17 65:1
jersey                                        31:14 42:24 43:4,7
                     know                                          65:10,14,20 66:1
  1:22                                        43:10,16,18,24
                       8:22 11:18,24 12:2                          67:1,11 68:1,3,8
johnnie                                       44:3 55:19 69:5
                       12:3 14:22 15:13                            69:1,21 70:1,14,24
  13:15 14:2,10,13                          language
                       16:24,25 17:7 18:7                          71:1,6 72:1,20 73:1
  16:8,12,17,21 19:6                          6:2 17:3 45:20
                       19:3 20:19 22:16                            73:21 74:6
  23:18 24:3 27:8                             54:22 55:15
                       24:2 26:6,9,11,14                         lee's
  39:20 40:2 49:9,13                        law
                       26:20 32:4 33:4,12                          62:25 63:7 66:2,7
  49:17 50:11,15,18                           2:3,8 5:15
                       34:7,10,13,17,19                            66:12,19,25
  51:12 52:2                                leaning
                       39:11 41:6,8,21,22                        left
jung                                          32:24 60:3,19
                       41:25 44:18 45:8                            27:11,12,24 28:3
  1:8 2:10                                    68:23
                       45:10 48:12 49:20                           28:10,17 29:15,21
           k                                leave
                       50:16,21 52:3,6                             30:2,11,23 38:19
                                              27:9,16 29:18
kang                   55:9,12 56:22                               40:8 41:4 45:3 50:8
                                              30:20 31:15
  37:8                 58:16 59:10 61:6,7                          51:3,8,17,21 53:16
                                            lebasket
karaoke                61:11,21 62:17                              53:17 55:14 57:15
                                              7:11,13,18
  11:4,6,7 14:25 17:8 63:23 64:10 65:13                            65:20 66:2,3,10,12
                                            led
  17:12 18:10 28:22    67:18,19 71:11,19                           66:20 67:2,3 68:4,9
                                              39:5,6
  36:25 37:3 38:12     71:21 72:4                                  69:4

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 30 of 37 PageID #: 1057

[lg - names]

lg                      louder                mccarthy (cont.)      minute
   1:5                    49:25                61:15,19 64:7 65:2    60:24 61:23 62:6
line                              m            66:4 67:13 71:4       64:12,16 65:5,9
   23:12,17                                    72:23                 73:11
                        main
liquor                                        mcmanus               minutes
                         2:10
   14:4,5 28:14,16                             2:14                  13:2,3,10,17,20
                        male
little                                        meadows                14:7,24 28:4,5,9
                         13:22
   18:19 48:7,22                               4:21                  29:17,20,24 30:4,7
                        male's
   64:23 67:21                                meal                   30:8,13 36:4,5 48:3
                         25:3,4
livingston                                     17:12 37:12 38:11     51:23,24 57:3
                        manager
   1:22                                       mean                   65:19,25 66:5,14
                         39:8,10
llp                                            8:22 51:10            66:24 67:7,10,22
                        manager's
   2:8                                        meaning                68:7,15 69:7,18
                         39:11
loan                                           12:8                 misstepped
                        manhattan
   21:16,18,24 22:2,6                         meatballs              33:2,5
                         7:15
located                                        24:13 41:13,14       mix
                        man's
   7:13 37:10                                 media                  49:10
                         24:25
location                                       8:12                 moment
                        march
   7:20 10:20                                 meet                   18:2 26:23
                         25:15 56:23 72:24
long                                           5:21 18:8            money
                        marked
   12:23 18:9 40:13                           member                 21:15,16
                         22:14,24 25:14,22
   46:11 47:19,25                              47:4,16              months
                         31:4 56:23
   57:4                                       men's                  33:9
                        marriage
longer                                         27:18                morning
                         75:15
   17:21 28:2                                 mentioned              2:24 4:22 5:22
                        matter
longo                                          16:9 22:9 29:8       moved
                         75:17
   2:19                                       met                    58:2
                        mccarthy
look                                           9:23 10:12 15:13              n
                         2:22 6:14,17 7:3
   22:15 25:17                                 46:20
                         9:17,25 10:5 12:9                          name
looking                                       michael
                         12:13 15:22 17:4                            4:15,22 6:9 9:7
   57:14 66:23                                 1:7 2:9
                         21:12,19 22:18,23                           11:24 12:3 24:24
looks                                         middle
                         23:14 25:8 29:4                             25:2,2,3,4,6 26:9
   24:17 25:6 58:12                            31:23 32:2 57:21
                         30:5,14 33:15 34:2                          26:11,14 33:24
   59:5,11                                     61:3,18,25 65:6
                         35:15 36:6,20                               34:6,6 36:23 39:11
lot                                            67:8,24 68:17 69:9
                         40:11,15,21 42:16                           41:21 45:15
   19:23 49:6,20                               69:12
                         42:18,25 44:8 47:5                         names
loud                                          mind
                         47:21 54:4 55:16                            11:18,20
   61:8                                        17:21,22
                         55:23 58:12 60:10


                                  [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 31 of 37 PageID #: 1058

[native - people]

native                          o            oh                    owner (cont.)
  5:25 45:20          oath                    39:15 51:18           63:18
necessarily             3:13 5:13            okay                  ownership
  60:7 65:24          object                  8:20 11:21 17:11      6:12,16 7:7
need                    6:23 9:17 23:10       23:17 26:4,6 27:3    owns
  6:8,25                29:4                  28:13 31:5 38:15      6:17 26:12
new                   objection               38:19 42:8 46:3               p
  1:1,13,13,19,22 2:5 6:14 7:4 8:23,25        51:9,15,19 52:3
                                                                   p.c.
  2:5,11,16,21 4:4,10 9:13,15,25 10:3,5       54:10 62:15 63:25
                                                                     2:3
  4:21 75:1,2,7         12:9,19 13:6,13       69:18
                                                                   p.m.
news                    15:19,22 21:12       once
                                                                     73:19
  8:12                  23:23 26:25 29:2      10:13 15:4,17
                                                                   page
nice                    30:5,14 32:19        open
                                                                     74:4
  20:18                 55:16,23 61:15        44:4,6,7
                                                                   paid
nicolaou                67:13                opinion
                                                                     24:2,5,15 41:6
  2:12 8:23 9:15 10:3 objections              32:21
                                                                     71:20 72:4
  10:7 12:19 13:13      3:7                  opportunity
                                                                   park
  17:2 22:20 32:19 observation                25:22
                                                                     11:22 19:16 25:5
  45:14,16 47:7,23      18:15 52:16          order
                                                                     27:15 39:14 46:16
  54:11 59:16 61:22 observe                   1:17 14:13,18 16:2
                                                                     46:20 52:23 53:6,7
  62:5 63:4 64:11       18:12 49:8 50:7,10    16:5
                                                                     53:11
  66:5 67:16 71:9,18 52:7                    ordered
                                                                   part
  73:10 74:7          obtaining               14:10,16,21,23
                                                                     72:10
night                   21:18                 15:18 39:25 44:16
                                                                   particular
  9:10 73:16          occasion                50:11,14,22,25
                                                                     46:24 55:7
nine                    34:8,11               51:2
                                                                   parties
  37:21 48:7          occur                  orna
                                                                     3:4 75:14
nonstop                 48:9                  2:17
                                                                   partner
  25:13               occurred               ounce
                                                                     33:14 46:9
northern                6:19 7:23 8:8         38:5
                                                                   passed
  8:3 9:4             o'clock                ounces
                                                                     12:25 48:17 51:6
notary                  24:17 38:20           16:21,24 17:7
                                                                     51:13,19
  1:18 4:3,9 73:24    office                 outcome
                                                                   pay
  75:6                  36:13                 75:16
                                                                     24:6,9,12 72:5
note                  officer                outside
                                                                   pending
  7:4                   3:12                  14:15
                                                                     25:17
noted                 offices                owner
                                                                   people
  73:19                 2:8                   31:11 41:20,24
                                                                     11:19 16:13 18:7
                                              42:6,7 57:17 58:6

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 32 of 37 PageID #: 1059

[people - recall]

people (cont.)         plea                   present              pushing
  20:5,16,17,18          72:11                 4:18 7:7,25 33:10    59:6,8
  26:21 27:7 29:13     plead                   33:18,20            puts
  29:14 32:22 37:5       71:13,22 72:21       president             62:8 64:17 65:10
  41:19 52:21 64:23    pleading                7:12                putting
percent                  72:3                 press                 65:16 67:3
  7:9                  please                  58:10                        q
period                   4:15 20:25 31:7      previous
                                                                   queens
  18:22 20:9             45:25 54:9 69:25      7:18
                                                                    8:3 9:5 72:25
person                 point                  previously
                                                                   question
  26:6,7 33:6,11,13      25:16 27:21,23        25:14
                                                                    3:8 6:23 12:10,14
  33:13,24 35:11,25      29:17 32:16 47:6     primarily
                                                                    25:17 33:17 40:20
  42:2 47:11 59:12       51:20 53:16,17        7:21
                                                                    42:9 48:4 51:15
  59:13,13               56:6 58:24 60:2      prior
                                                                    62:3 65:3
personality              61:2,18 62:5,24       8:6 9:9 34:3 73:7
                                                                   questions
  50:2                   63:6 65:25 66:8,16   probably
                                                                    4:11 5:9,18 7:6
person's                 66:23 68:3,13         10:10 51:5
                                                                    22:17 23:8 25:19
  41:21                  69:12                probation
                                                                    33:17 36:17 45:17
perspectives           police                  72:7
                                                                   quite
  32:23                  30:22,24 35:5,10     profanities
                                                                    34:12
phone                    35:13,18,22,25        54:25 55:2 56:14
  26:3                   36:10,12 44:11       public                         r
place                    73:4                  1:18 4:3,9 73:24    raised
  9:6 38:18            policeman               75:6                  61:17
placed                   35:9                 pull                 reach
  16:4 40:7,9 41:2,3   position                20:22                 21:2
  41:3 45:2 63:16        60:14                pulling              read
  72:7                 pounds                  20:16                 15:24 21:10 22:19
plains                   38:10                purchased              22:21 40:21,22
  2:11                 pour                    23:21                 54:15
plaintiff                14:5 20:6 45:5       purchases            ready
  1:3,17 2:3           poured                  23:6                  22:16 23:3 69:19
plater                   14:8 20:4 52:5       purpose              really
  24:13                precarious              15:2                  21:24 22:2 49:19
play                     60:14                pursuant               62:22 69:19
  58:10 69:17          precisely               1:17                reask
playing                  49:8 55:3            push                   48:4
  25:20 69:20          premises                64:14,20            recall
                         29:18                                       9:7 14:3,22 15:8

                                [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 33 of 37 PageID #: 1060

[recall - saw]

recall (cont.)         relevant               restroom               room
  16:16 20:6,7 23:20     6:18                   27:14 50:8 51:3,8      11:9,11,11,13,17
  28:13 38:2 39:7      remember                 51:14 53:21,22,23      11:19,25 12:4,5,15
  44:22 45:7 47:11       15:3 22:3,9 28:14      54:5 55:14             12:16,18,22,24
  51:25 59:2,9 61:17     29:10 31:18 39:9     result                   13:2,4,9,11,16,19
  62:10,13,15 65:22    remind                   70:15 71:14            13:23 14:2,4,14,15
receipt                  67:15                resuming                 14:17 15:2,5,6,9,11
  23:5                 remove                   36:9                   15:16,18 16:12,13
received                 63:13,15             retained                 16:18,22 17:16
  34:15,17             removed                  34:13                  18:5,7,10,17,18,20
recognize                62:24 63:7           retranslated             18:25 19:7,10,13
  26:4 59:12           repeat                   31:8                   19:17,21 20:3,5,9
recognized               10:25 40:19 42:8     return                   20:10,13,14,17,18
  41:20 59:19            45:17 71:17            53:20                  21:4,7,20,22 22:4
recollection           rephrase               returned                 22:11 23:6,21 24:9
  9:19 17:16 28:19       30:9                   30:12                  27:7,12,13,16,19
  30:19 37:20 46:22    reporter               review                   27:19,20,24 28:3,7
  46:25 48:13,18         15:25 21:11 40:23      25:22                  28:11,17 29:14,16
  51:22 52:20 53:9       54:16 75:6           rewind                   29:17,21 30:2,3,11
  55:25 56:8 60:7,8    reporters                65:24 67:17,21         30:20,23 34:25
  60:17 65:15,18         1:21                 rib                      35:3 39:3,5,6,13
record                 representing             37:16                  40:14 41:9 42:19
  4:16 15:24 21:10       72:14                ribs                     44:9 48:21 49:22
  40:22 54:15 59:17    reserved                 37:17                  51:7,13,17,21
  75:11                  3:8                  richardson               52:17,24 53:17,17
referred               respective               1:7 2:9                53:20 54:3,6 63:22
  11:25 14:19 15:6       3:4                  right                    63:24 70:7,10
  24:14 26:15          responsibilities         12:12 24:16 27:22    rough
referring                7:10                   29:25 31:17 43:24      50:3
  16:7                 responsive               44:4 45:12 57:12     rowdy
reflected                5:8                    57:24 58:10,15,25      52:22
  24:3,6,10 31:3       rest                     58:25 59:5 66:8,13   rules
  32:18                  16:7 19:24             66:19,25 68:4,8,25     45:18
related                restaurant             rights                           s
  7:22 75:13             17:13,13 26:12         66:10
                                                                     san
relation                 37:7,9 38:19 39:16   road
                                                                      37:8
  11:23                  39:17 41:20 42:7       2:15
                                                                     saw
relationship             57:17 58:6 63:19     robert
                                                                      11:4,6 26:2 56:4,13
  46:14,17                                      1:21 2:6 4:23

                                [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 34 of 37 PageID #: 1061

[saw - staircase]

saw (cont.)         seven                shin's (cont.)           size
 56:22 59:24 61:10   37:21                 61:25 65:6 70:15         38:3
saying              shin                   71:15 72:15            small
 54:24,25 55:3       1:2 4:25 8:17 9:23 shirt                       16:14,19,24 17:6
 56:12 59:21 62:14   10:12,14,20,23        57:7                     29:6
 65:13,16,17         11:3,10 12:5,16,21 shook                     smg
says                 12:24 13:4 14:17      18:6,7 59:20             1:5
 23:12,14 24:17      15:4,11,14,16,17 short                       snack
scene                16:2,4,6,11,18,22     36:7 55:18 73:12         39:23
 35:16,19            17:15,20,24 18:4,5 shorthand                 sober
sealing              18:8,10,12,16,20      75:5                     17:17,21,22,23
 3:5                 19:5,7,10,13,17,20 shot                        18:2,16 61:13
second               20:2,4,9,12,14,15     14:6 19:8              somebody
 44:16,20,23,24      20:19,20,22 21:5,5 shots                       14:20 47:9
 50:11,14,22 51:2,7 21:8,8,18 22:4,10      19:15 29:6 52:10       someone's
 51:11,20 52:2,14    23:7 25:5 26:8 27:3 shoulder                   24:24
 52:18 58:3 65:19    27:12,21 28:3,10      57:17                  sorry
 66:24 67:7          28:17 29:9,15,21 show                          17:3 29:23 46:4
seconds              30:2,11 31:10,25      22:13 25:12              51:18 66:9
 57:2,4 58:3 60:25   32:5,11,14,17,24 shown                       sounded
 61:23 62:6 64:12    33:7,8 34:23 42:5     31:14 55:20 60:7         21:23,25
 64:16 65:5,9 67:10 42:10 43:6,11,14 sic                          speak
 67:22 68:7,15 69:7 43:24 44:16 45:5,8 63:8                         17:3,5 40:12 45:19
 69:18               48:20 49:17 50:14 side                         54:9
seen                 50:17,22,25 51:17     2:24                   speaking
 10:13,16 25:24      51:21,25 52:19,21 signed                       5:7 55:2
 41:16               53:10,16,23 54:19     3:12,14                spell
sent                 55:13,20,22 56:16 similar                      46:6
 26:3                57:21 58:4,14 59:4 52:8,13                   spoke
serve                59:11 60:2,9,18     sir                        36:10
 40:5                61:2,10 64:2,5 67:6 5:16 56:25 57:8          spot
served               67:23 68:16,20,23     58:25 59:13 62:3         33:3,5
 13:5                69:8,22,23 70:4     sit                      ss
server               73:5,16               41:5                     75:2
 39:8,19,21 40:4,13 shin's               sitting                  stable
 40:24 41:3,12       7:22 8:2 9:10 26:7    30:17,18                 56:19 70:18
 44:19               26:10,17 35:22      situation                staircase
set                  46:20 47:14 48:2,8 62:18,19 69:15              64:4 71:15
 75:10,19            48:15 54:7 58:22

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 35 of 37 PageID #: 1062

[stairs - today's]

stairs                stopping              talked                 third
  26:23 28:24 31:3      60:24                 8:7                     65:11
  31:19 32:17 34:24 straight                talking                thirty
  42:21 47:15 59:10     32:25 38:12           30:7 34:3 35:18,22      48:3
  60:4,18 70:5        stranger                41:23 42:20,23       thought
standing                63:16                 54:11                   70:12
  26:22 31:2 32:25 street                   tell                   three
  43:13,14 64:4         1:12,22 2:10,20       24:25 26:21 31:25       11:13,19 16:23
  68:20                 4:20                  32:17 33:16,21          19:14 27:23 28:2
start                 stuck                   35:13,20,24 37:14       29:6 57:10,21
  5:19 20:16 55:8       56:14                 65:3,4 73:4,15          64:23
  66:11               subscribed            telling                threw
started                 73:21                 20:19                   55:4
  5:22 11:15 56:3     subsequent            ten                    till
starting                6:21                  38:5 48:11,11           37:21
  28:21 69:11         subsequently          terrance               time
state                   71:3                  1:8                     3:9 6:22 7:5 9:22
  1:19 4:4,10,15 75:1 suite                 terrence                  11:12 12:16,17,24
  75:7,8,13             2:4,11,21             2:10                    12:25 17:17,19,24
stated                support               testified                 18:16,23 20:2,12
  11:11                 60:20                 4:5 35:4 48:21,25       22:19 27:9,16
statement             supposed              testimony                 28:22 30:21 31:3
  23:11                 63:15                 17:25 75:12             31:16,20 33:18
states                sure                  testing                   35:21 37:19 38:9
  1:1 23:18             5:4 10:2 25:8 36:6    44:12                   38:17 46:19,23
stay                    42:17 43:3          thank                     48:6,8,10,14,15
  18:25 28:3          sworn                   36:19 45:13 73:18       51:6,8,11,13,19,21
stayed                  3:11,14 4:3,9 73:21 thing                     52:24 55:14 56:16
  29:16 30:12           75:10                 44:25                   59:7,23 64:3,22,25
stays                            t          think                     65:11,14 67:2,3
  58:7                                        10:16 19:8,14,18        73:19
                      table
step                                          23:15 28:19 30:15    times
                        40:10 45:2 49:12
  69:2                                        32:24 33:5 35:2         9:10 12:6
                        49:18
steps                                         38:15 39:10 40:3     timothy
                      taken
  7:23 8:2 17:20,25                           41:16 48:11,21          2:22
                        1:16 36:8 73:13
sticking                                      50:23 59:6 63:12     today
                      talk
  31:23 32:2,6                                63:21 64:22,24          36:17 41:5
                        7:22 18:5 35:5
stipulated                                    70:11,17,20          today's
                        54:13
  3:2,6,10                                                            8:6

                               [4/15/2019] Shin vs YSE
    Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 36 of 37 PageID #: 1063

[told - witnesses]

told                  type                video                   wall (cont.)
  15:15 21:14 33:12     44:12               25:12,18,20,24         68:13,23 70:22
  35:11,25 41:18                u           26:2,5,10,16,22,23    wang
  42:4 44:15 63:25                          28:23 31:4,14,20       1:7,7,8 2:9,9,10
                      unbalanced
tony                                        32:18 41:19 55:21     want
                        33:2
  2:24                                      56:22 57:2,7,14        22:13 25:17 39:23
                      unclear
top                                         58:3 60:8,25 61:24     67:15
                        51:15
  26:22 28:23 31:2                          62:7 63:5 64:13,17    wants
                      underneath
  31:19 59:10 60:3                          65:6,10,20,23 66:2     67:17
                        24:20
  60:18 64:4                                66:14,24 67:6,12      water
                      understand
translate                                   67:22,23 68:8,16       1:12
                        5:2,6,10,12,16
  9:16 25:10 71:9                           68:19 69:8,18,20      wearing
                        15:23 24:21 26:12
translated                                view                     57:11,16
                        30:6,16 33:23
  4:10                                      68:20                 wedding
                        45:18,19 46:4
translation                               visible                  10:17,19
                        50:13 51:9 55:17
  2:24                                      43:18                 weight
                      unfolded
translator                                visiting                 38:8
                        53:25
  46:2                                      9:4                   went
                      united
trial                                               w              15:13,14 17:11
                        1:1
  1:15 3:9 7:6                                                     27:5,13,18 31:9,11
                      unstable            wait
tried                                                              31:13 34:25 35:2
                        56:20,21 60:6,9     40:11
  35:10                                                            37:2,3 38:16 39:4
                      upper               waiter
tripped                                                            39:15 47:18 51:13
                        24:16               50:18
  33:2                                                             51:16
                      upset               waits
true                                                              we've
                        32:8 62:21,22       25:9
  75:11                                                            8:16 25:13
                        63:11 69:15       waived
trust                                                             whereof
                      use                   3:5
  1:8 2:9                                                          75:18
                        51:3,8,14 53:18   walk
trustee                                                           white
                      usually               70:13
  1:7 2:9                                                          2:11
                        20:6              walker
truthful                                                          willets
                                v           13:15 14:2,10,14
  5:14                                                             2:15
                                            16:8,12,17,21 19:6
try                   vantage                                     witness
                                            23:18 24:3 27:8
  45:17 62:19           32:16                                      23:2 25:13 33:23
                                            39:20 40:2 49:3,9
trying                verdict                                      36:19 45:13 58:19
                                            49:13,17 50:11,15
  62:17                 6:20                                       72:18 74:4 75:9,12
                                            50:19 51:12 52:2
turns                 victoria                                     75:18
                                          wall
  59:4                  1:7 2:9                                   witnesses
                                            60:3,19 66:17,20
                                                                   23:5

                                [4/15/2019] Shin vs YSE
   Case 1:17-cv-05183-RML Document 76-9 Filed 05/12/20 Page 37 of 37 PageID #: 1064

[woman - yse]

woman                 york
 15:5                  1:1,13,13,19 2:5,5
woman's                2:11,16,21 4:4,10
 25:2                  4:21 75:1,2,7
woo                   young
 72:19                 1:8,16 2:20 4:17
words                  73:21 74:6
 29:10 31:18 55:2,5   ys2
 65:16,17              8:19,21
works                 yse
 26:8                  1:7
wrist
 68:4,9
writing
 24:21,21,23
wrong
 23:16
wu
 1:8 2:10
          y
yeah
 24:19,22 26:2
 41:25 43:12 44:10
 47:9 48:19 53:7
 58:19,23 59:6 60:5
 60:13 62:4 63:3
 69:10
year
 9:19,21 47:2,7
years
 7:19 46:12
yelling
 27:4 29:9,13 31:10
 31:11 42:5,6,11,12
 42:14,19,20,23
 43:4,7 53:24 54:19
 54:21 55:9,20 56:9



                              [4/15/2019] Shin vs YSE
